Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 1 of 66

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AFFIDAVIT OF TASK FORCE OFFICER JAMES PICARDI

/Q?/¢/ f 0767

[, James Picardi, being duly sworn, hereby depose and state as follows:

l. l have been employed as a Revere Police Officer since 1991 and have held the
rank of Sergeant since 1996. Since September of2002, l have been assigned as a Task Force
Officer ("TFO") ofthe United States Drug Enforcement Administration ("DEA"). l am
currently assigned to the Boston Offlce ofthe New England Field Division. As a deputized
TFO, l am also a “federal law enforcement officer" within the meaning of Federa| Rule of
Crimina| Procedure 4l(a)(2)(C), that is, a government agent engaged in enforcing the criminal
laws and duly authorized by the Attorney General to request a search warrant.

2. During my time as a Police Offlcer and Task Force Officer, l have participated in
numerous investigations and arrests involving infractions of state laws, including Massachusetts
General Laws, Chapter 94C, and federal laws, including Title 21, United States Code, Sections
84l(a)(l) and 846, Some ofthe investigations and arrests were in cooperation with the Bureau
of A|cohol, Tobacco, Firearms, and Exp|osives (“ATF”); the Federa| Bureau of [nvestigation
("FBI"); Massachusetts State Po|ice; local police agencies; and DEA Task Force I[.

3. During my law enforcement career, l have received specialized training regarding
the activities ot`narcotics traffickers, including the methods used to package, store, and distribute
narcotics, and the methods used by narcotics traffickers to conceal and launder the proceeds of
their narcotics-trafficking activities. ln addition to my training with the Massachusetts Criminal
Training Council Recruit Academy and yearly in-service training, l have participated in courses
aimed at educating police investigators in drug interdiction, detection. and recognition, as well as
case presentation l have participated in an accredited SO-hour narcotics investigation course

sponsored and taught by DEA. During my training and through my experience, l have observed

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Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 2 of 66

marijuana, cocaine, heroin, and other narcotics l am aware ofthe prices commonly charged on
the street for these substances, the methods of packaging them, and thejargon used in their
distribution. l have received training in field-testing controlled substances. l have participated in
nearly all aspects of narcotics-trafficking investigations at the state and federal |evels, including
but not limited to, the arrests of narcotics offenders after lengthy investigations that involved

investigative techniques such as undercover purchases of narcotics by police officers and/or

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federal agents and controlled purchases of narcotics by other sources l have been involved in
multiple Title lll electronic-surveillance investigations during my tenure at DEA. l have
debriefed numerous defendants informants, and witnesses who had personal knowledge about
narcotics-trafficking activities and the operation ofnarcotics-trafficking organizations. l have
sworn out numerous affidavits in support of search warrants, arrest Warrants, and other court
applications

4. Based on my training and experience, l am aware that drug traffickers commonly
use cellular telephones in furtherance oftheir drug-trafficking activities and frequently “drop” or
change cellular telephone numbers and cellular telephones in an effort to thwart law
enforcement’s use of electronic surveillance l am familiar with the manner in which narcotics

traffickers use telephones; coded, veiled, or slang¢{illed telephone conversations; electronic text

 

messages; and other means to facilitate their illegal activities l am familiar with the "street"
language used by drug traffickers as well as the methods they use to disguise conversations and

operations

 

5. I am familiar with the manner in which narcotics traffickers use vehicles,
common carriers mail and private delivery services and a variety of other means to transport

and distribute narcotics and the proceeds of narcotics trafficking l am also aware, from my

Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 3 of 66

training an experience, that drug traffickers often install and use electronically operated hidden
compartments in motor vehicles to transport large quantities ofdrugs and drug proceeds As
described more fully below, l am aware that in addition to using their residences drug traffickers
use "stash locations" for their drugs drug-proceeds and other items used in furtherance of
narcotics-trafficking activities My knowledge and experience regarding such practices and the
types of evidence of drug trafficking typically found during executions of search warrants at the
residences and stash locations ofdrug traffickers is set forth in greater detail in Section V[[ ofthe
Affidavit below.

6. My awareness ofthese drug-trafficking practices as well as my knowledge of
drug use and distribution techniques as set forth in this Affidavit, arise from the following:
(a) my own involvement in prior drug investigations and searches during my career as a law
enforcement officer; (b) my involvement on a number ofoccasions in debriefing confidential
informants and cooperating individuals in prior drug investigations as well as what other agents
and police officers have advised me when relating the substance oftheir similar debriefings and
the results oftheir own drug investigations (c) from this particular investigation and other
investigations involving the interception of wire communications pursuant to court authorized
Title IlI wiretaps

PURP()SE ()F AFFH)AVIT

7. This affidavit is being submitted in support ofa criminal complaint against the

following individuals
a. Jovhan SALDANA, a.k.a. "Cesar," a.k.a. ""Santo Valerio FRANCO

GUZMAN" (hereinafter` "SALDANA");

 

 

 

Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 4 of 66

b. Andres RAMIREZ-RODRIGUE, a.k.a. "Primo,” a.k.a. "Vija,"’ a.k.a. "Bija,"
a.k.a. "Alfredo" (hereinafter, "RAl\/IlREZ-RODl{[GUE");l

c. Carlos FRANCO, a.k.a. “El Tio,” a.k.a. “Ruby” (hereinafter, "FRANCO”);

d. Eliot CUADRADO-ALMODOVA, a.k.a. Abdie| VARELA, a.k.a. "Gordo,”

a.k.a. "Wi|ly" (hereinafter, "CUADRADO-ALMODOVA”);

 

e. Fernando MARTINEZ-TIBURCIO, a.k.a. "Chifuco” (hereinafter,
"MART[NEZ-T[BURCIO”);

f. Teodoro LOPEZ-SANTOS, a.k.a. “Wi||y,” a.k.a. “Wi|liam” (hereinafter,
"LOPEZ-SANTOS”);

g. Ral`ae| ROMERO MONTANEZ, a.k.a. “Memin" (hereinafter,

“MONTANEZ"); and

 

h. Pablo LEBRON-RIVERA, a.k.a. “Carlos,” a.k.a. “Carlos Nueva,” a.k.a.
"'Car|os Mona” (hereinafter, “LEBRON-RIVERA”),
charging that beginning at least in or about July 2011 and continuing until the present, each did
knowingly and intentionally combine, conspire, confederate, and agree with each other and with
others known and unknown, to possess with intent to distribute a kilogram or more of heroin, a

Schedule I controlled substance, and five kilograms or more of cocaine, a Schedu|e I[ controlled

 

substance, in violation of Title 21 United States Code, Sections, 841(a)(l), 84l(b)(l)(A), and

846.

 

 

' Based on intercepted communications it appears that RAMIREZ-RODRIGUE is
currently in the Dominican Repub|ic.

Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 5 of 66

8. This affidavit is also being submitted in support of search warrants for the
following target locations which are described in greater detail later in this Affidavit and in
attachments to the warrant applications and warrants

a. 81 Phillips Street. First Floor Rear Apartment, Lawrence, Massachusetts
b. lO Diamond Street, Apartment 19, Lawrence, Massachusetts and
c. 87 Kie|y Road, Dedham, Massachusetts

9. This affidavit does not set forth all the facts developed during the course ofthis
investigation Rather, it sets forth only those facts that are necessary and sufficient to establish
probable cause to believe that the defendants identified herein have committed and will continue
to commit the above-described controlled substance offenses and that evidence, fruits and
instrumentalities of these offenses will be found in the above described target locations

10. l have personally participated in the investigation ofthe subjects named in this
affidavit since the fall of 201(). lam familiar with the facts and circumstances of this
investigation based on information l have received from a variety of sources including my own
personal participation in the investigation, oral and written reports made to me by other law
enforcement officers physical surveillance, debriefings of confidential informants and
cooperating witnesses public records business records telephone toll records pen register and
trap-and-trace data, court authorized GPS tracking and cell-phone location tracking, and my
review of recordings and transcripts from court-authorized wiretaps and summaries of wiretap

interceptions

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Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 6 of 66

SUMMARY OF EVIDENCE
I. BACKGROUND OF THE [NVESTIGAT[ON

1 1. This investigation arose from a separate wiretap investigation that resulted in the
2009 indictment of eight individuals and the seizure of approximately 54 kilograms of cocaine.
Cooperating witnesses in that investigation provided information about an unindicted and elusive
co-conspirator they knew only as "Cesar."

12. "Cesar" is Jovhan SALDANA, the leader of a high-volume heroin and cocaine
trafficking organization (the “SALDANA DTO"). The SALDANA DTO has employed least
seven individuals_RAM[REZ-RODR[GUE, FRANCO, MART[NEZ-TIBURC[O,
CUADRADO-ALMODOVA, LOPEZ-SANTOS, and two unidentified males-to distribute
substantial quantities of heroin and cocaine in eastern Massachusetts The SALDANA DTO has
obtained narcotics from several suppliers including: _
MONTANEZ, and LEBRON-R[VERA, along with their associates2

13. Since July 25, 2011, the Honorable Joseph L. Tauro, United States District Judge,
District of Massachusetts, has signed eight orders authorizing the interception ofwire
communications to and from twelve cellular telephones used by SALDANA DTO members and
their suppliers including SALDANA, RAM[REZ-RODR[GUE, FRANCO, MONTANEZ, and
LEBRON-R[VERA. lnterceptions over a telephone used by SALDANA are ongoing
lnforrnation regarding the wiretaps obtained in this investigation is summarized in the chart

below:

 

2 [ am aware of several other identified narcotics suppliers to the SALDANA DTO.
Because the investigation is ongoing, l am not including their names herein.

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Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 7 of 66

 

 

 

Te|ephone Number Primary User During Period of Dates of Interception
Interception
(978) 397-0088 RAM[REZ-RODRIGUE 7/25/20| l - 9/21/201 l
("Target Te|ephone #1”)
(978) 397-6578 RAMIREZ-RODRIGUE 8/23/20| l - 9/21/2011

("Target Te|ephone #2”)

 

 

 

(978) 397-8781 FRANCO 8/23/2011 -
("Target Te|ephone #3”) 9/21/201 1;
1\/l/20\ 1 -
12/30/201 l
(978) 208-9479 RAMIREZ-RODRIGUE 9/19/201 1 - 9/30/20| 1
(‘°Target Te|ephone #4”)
(978) 390-7184 RAMIREZ-RODRIGUE ll/3/2011 - 12/1/2011

("Target Telephone #5")

 

 

 

 

 

 

 

7508) 375-8814 RAMIREZ-RODR[GUE 12/1/2011 -
(“Target Telephone #6”) l2/30/2011
(347) 368-5556 MONTANEZ 12/1/2011 d
(“Target Telephone #7”) 12/30/201 1
(301) 693-3232 LEBRON-R[VERA 12/1/201| -
("Target Telephone #8”) 12/30/201 l
(978) 457-0460 SALDANA 4/2/2012 - 4/| 3/2012
(“Target Telephone #9")
(978) 390-6613 SALDANA 5/10/2012 - 5/14/2012
("Target Telephone #10")
(978) 390-1194 SALDANA 5/24/20|2 - 6/6/2012
("Target Telephone #1 l”)
(978) 489-4921 SALDANA 6/15/2012 ~ present

 

 

 

 

("Target Te|ephone #12”)

 

 

 

14. Throughout this affidavit, 1 describe numerous intercepted calls and identify the

participants in those calls Those identifications are based on a combination of several factors

 

including the following'. intercepted statements concerning the user`s location or activity that

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Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 8 of 66

were consistent with ongoing physical or electronic surveillance; use of known names or aliases;
and voice comparisons with instances in which the speaker is known to have participated in an
intercepted call.

15. Based in part on intercepted communications and surveillance conducted over the

 

course of this investigation, agents have seized approximately 15.5 kilograms of heroin, two
kilograms of cocaine, and approximately $400,000 in suspected drug proceeds from the

SALDANA DTO and its suppliers

 

II. SUMMARY OF NARCOTICS AND MONEY SEIZURES
a. Au ust 8 2011: Seizure of AJ)proximateL' $B,lm in DU Proceeds From
h Following Narcotics I)elivm to SALDANA DTO.
16. On August 6 and August 7, 2011,_
_, RAMIREz-Rooruoua, and sALDANA made

arrangements for- to have a female courier deliver approximately four-and-a-halfki|ograms

 

of heroin to RAMIREZ-RODRIGUE, and for RAM[REZ-RODR[GUE to pay approximately
$78,000. A sample of intercepted calls corresponding surveillance, and the seizure of $78, 120,
are summarized below.

17. On August 6, 201 l, at approximately 1243 p.m., Target Telephone #[ received an

incoming call from (347) 231-4478, and RAM[REZ~RODR[GUE spoke to- whom this

 

investigation has established is a New York-based heroin supplier to the SALDANA DTO.|

 

 

Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 9 of 66

- said he had been talking to the “little one,” who would call RAMIREZ-RODRIGUE soon.4
- asked, “Who is the boss right now, you, or who is it?” RAMIREZ-RODRIGUE responded,
“We are here.” - said that he "already arranged something with him" for the "eight dollars
that are pending.” - continued, "‘[Y]ou’re going to have that lined up and something that he
and l talked about already. He said he was going to call you so you can line that up." -
further stated that he was "going to send the girl” to RAMIREZ-RODRIGUE the next day.
RAMIREZ-RODRIGUE asked ifthe girl was going to come early. - said he would not tell
RAM[REZ-RODRIGUE when the girl would arrive, and asked ifRAM[REZ-RODRIGUE had a
“Blackberry cell phone.” RAM|REZ-RODRIGUE said he did not. - responded, “You’re
going to have to buy one. Because we are, from now on, we’re going to talk by writing.” -
said this was how he communicated with the people “from the south” who “send [him] the
packages They don’t talk on the phone.” - then discussed the arrival ofthe girl, and said
that the “peop|e who are driving the airplane” know the girl. The parties continued to discuss the
arrival of“the girl.”- then stated, “[F]ive dollars is what l’m going to send you guys. From
that ba|l.” - added that he "already coordinated with him. He`s going to tell you what you’re
going to save for me.”

l8. I believe that- called RAMIREZ-RODRIGUE to communicate some ofthe

details ofa narcotics transaction that- had negotiated with SALDANA ("the little one" 5

 

4 Throughout this affidavit, quotations from intercepted conversations are derived from
preliminary draft transcripts and/or synopses (“line sheets”) ofconversations that occurred in
Spanish. The line sheets are subject to revision upon finalization. My interpretation of the calls
which often use coded language and slang, is based in part on my training, experience and
knowledge ofthis investigation, as well as the training, experience, and knowledge ofother
agents involved in this investigation,

’ SALDANA”$ Rhode lsland driver”s license listed his height as 5”3". This is consistent
with agents” observations of SALDANA.

 

 

 

Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 10 of 66

whom- “already arranged something with”); that the SALDANA DTO owed- $80,000
(“eight dollars”); that- would send his courier,- ("the girl”), to deliver five
kilograms ofheroin (“five dollars”); that- would take from a larger quantity ofnarcotics
("that ball”) and pick-up the money owed by the SALDANA DTO; and that the courier intended
to take a different bus or van (“flight”) than the one she usually took to make deliveries l further
believe that- instructed RAMIREZ-RODR[GUE to purchase a B|ackberry device in order to
communicate about narcotics transactions the same way that- communicated with his own
narcotics sources (the people “from down south” who “send [him] the packages,” referring to
narcotics shipments). The parties spoke again later that day and the following morning
regarding, among other things the use of B|ackberry devices and arrangements for_
meeting with the SALDANA DTO.

19. On August 7, 201 l, at approximately 2:58 p.m., Target Telephone #l received an
incoming call from telephone number (374) 490-091 l, and RAMIREZ-RODRIGUE spoke to
_ asked if RAM[REz-RoDRIGUE had been eemng her.6 RAMIREZ-
RODRIGUE said, “[ was calling to see if you are coming today or not.” - said she was
coming, but didn’t know when, adding, “the bus has a schedule," and noting that "[ wasjust
talking to the guy[;] he asked me ifl can go down there.” - continued, “[ know you
guys arc waiting for me[,] but l really don’t like going at this time. l’m only doing it for you
guys” - stated she would take the 5:00 p.m. or the 8:00 p.m. bus RAM[REZ-
RODR[GUE asked if she would leave the following morning. - said, “No, you know l

have my taxi driver.” RAMIREZ-RODR[GUE said, “[ wanted to check the stuff because last

 

 

 

6 At approximately 2154 p.m. and 2155 p.m., outgoing calls were placed from Target
Te|ephone #l to telephone number (374) 490-091 l. The calls went to voicemail. No messages
were left.

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Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 11 of 66

time l had some problems.” RAMIREZ-RODRIGUE continued, “Sometimes when the stuff is
not peeled[,] the weight is different from when it’s peeled.” RAM[REZ-RODRIGUE stated he
wanted to “peel a package and see if the weight is the same.” - responded that she did
not intend to wait around “because he does not pay [her] enough” to wait. RAMIREZ-
RODRIGUE responded that she had to wait because he did not want to “be short like the last
time.” RAMIREZ-RODR[GUE explained, “The last time he said there was going to be five
plantain.” But when he “peeled the "plantain," it was not five ofthem.” - responded,
"No. But . . . they already know that when they are un-wrapped it weighs less.” RAMIREZ-
RODRIGUE affirmed, and- added, “[ don’t want to stay because he does not pay me
what he should[,] and l don’t like to stay.” RAMIREZ-RODRIGUE told- to call him
and said that "Gordo is going to be here.” - said she would call when she “take[s] of

20. l believe that-confirmed she would take the 5:00 or 6;00 p.m. bus to
Boston from New York to deliver narcotics on behalf of- that RAMIREZ-RODRIGUE
wanted her to stay long enough for him to examine the narcotics (“l wanted to check the stuff
because last time l had some problems.”); that specifically, RAMIREZ-RODR[GUE wanted to
open ("peel”) a package ("plantain,” likely referring to a kilogram of heroin) to weigh it; that
- did not want to stay long enough to allow RAMIREZ-RODRIGUE to examine the
package because-did not pay her enough to justify staying longer; and that RAM[REZ-
RODRIGUE confirmed that CUADRADO-ALMODOVA (“Gordo”) would be at the location
where- would make the delivery.

21. At approximately 4:48 p.m., Target Te|ephone #l received an incoming call from
telephone number (347) 231-4478, and RAMIREZ-RODRIGUE spoke again to- said

he was calling to inform RAMIREZ-RODRIGUE that he was going to “break apart one” of the

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Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 12 of 66

packages to confirm the "amount that l know that it yields” RAM[REZ-RODR[GUE said he
was going to ask- to have "the girl" wait for him to open a package - said that instead,
he would break apart one package and weight it "so things would be clear.” - explained that
"it`s going to be . . . broken apart when it comes.” RAl\/l[REZ-RODRIGUE questioned why the
package would be “broken apart," noting that one that he "peeled" did not break apart. -
responded, "'What ['m going to do is give it with a "manifest paper.""‘ -further state that the
contents ofthe package would not be “ground" up, but might be broken apart. - later told
RAM[REZ-RODRIGUE that he would call RAM[REZ-RODRlGUE and confirm the “flight.”
RAMIREZ-RODRIGUE suggested that- "call . . . when the woman is about to leave.” -
affirmed and asked RAM[REZ-RODRIGUE, “[Y]ou saved what [ reminded you about, right?”
RAMIREZ-RODRIGUE affirmed. - then asked, “[Y]ou have the eight set aside for me,
right?” RAMIREZ-RODRIGUE affirmed again.

22. I believe that- sought to assure RAMIREZ-RODR[GUE that he would weigh
a sample package of narcotics himselfto ensure that RAM[REZ-RODRIGUE was receiving the
correct quantity; that because-was opening a package of narcotics to weigh it, RAMIREZ-
RODRIGUE should expect that one of the packages would be "‘broken apart,” but not “ground”
up; that RAl\/llREZ-RODRIGUE was in the past able to peel a package and weigh the contents
without having the block of narcotics break apart; that- agreed to call RAMIREZ-
RODRIGUE whe- was departing with the drugs; and that RAMIREZ-RODRIGUE
agreed to provide $80,000 to- (“have the eight set aside”).

23. At approximately 8:23 p.m., Target Te|ephone #l received an incoming call from

(347) 490-09\ i, and aAMiREz-Roonioua spoke again wirh_ said she

was about board the bus; that the bus would arrive around midnight, and that she would meet

12

 

Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 13 of 66

them around 1100 a.m.. RAMIREZ-RODRIGUE said that “Gordo” would be there when she
arrived. RAMIREZ-RODR[GUE then placed a call from 'l`arget Te|ephone #l to (978) 390-
0989 and spoke to CUA[)RADO-ALMODOVA, a.k.a. "Gordo.” RAMIREZ-RODRIGUE told
CUADRADO-ALMODOVA that-just called and that she was waiting for the bus
CUADRADO-ALMODOVA acknowledged, and asked ifeverything was alright. RAMIREZ-
RODRIGUE affirmed

24. At approximately 9:35 p.m., Target Te|ephone #l received an incoming call from
(347) 231-4478, and- told RAM[REZ-RODR[GUE that “the person . . . is on the flight, you
hear?” RAMIREZ-RODR[GUE responded, “[Y]es[,] yes she already called me to tell me that
she was about to leave.” RAMlREZ-RODRIGUE later stated that he would be “waiting for her
here.” - said, “We’ll be in touch, you know, when she gets there.” l believe that- and
RAMIREZ-RODRIGUE were discussing the impending arrival of-

25. At approximately 10:04 p.m., Target Te|ephone #1 received an incoming call
from (809) 323-0313, and RAMIREZ-RODRIGUE spoke to SALDANA.7 SALDANA said he
had just spoken ie_ sALDANA asked RAMiREz-Rooniouis ifthe
woman was “on her way over there,” which RAMIR_EZ-RODR{GUE confirmed. SALDANA
said rhar- sent ~'~renr and a hair." RAMiREz-RODRIGUE said he changin-
- was going to send “five." SALDANA responded, "No, it’s only four and a half.”
SALDANA then told RAMIREZ-RODRIGUE that he thought it was going to be “sixty” “pesos”
but that it would instead be "seventy pesos" plus an additional "eight” that was owed to-
- SALDANA and RAM[REZ-RODRIGUE discussed the increased price and lower

quality of what- provided (describing it as a little "looser”), and other potential

 

7 SALDANA is believed to have been in the Dominican Republic at that time.

13

Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 14 of 66

narcotics deals SALDANA told RAMIREZ-RODRIGUE that next time, he should seek a better
deal from- RAMIREZ-RODRIGUE and SALDANA continued to discuss the state
ofthe DTO’s business SALDANA also RAM[REZ-RODR[GUE discussed requests from
unidentiHed individuals for portions of what- was delivering--for example,
RAlvllREZ-RODRIGUE referred to “the guy” who wanted "a whole one.”

26. l believe that SALDANA had conHrmed that-- was to deliver
"four and a half" kilograms of narcotics most likely heroin, and that RAMIREZ-RODRIGUE
was to make a $78,000 payment in part for past debts owed to- and also in partial payment
for the “four and a half" kilograms that would be delivered.

27. Based on intercepted calls agents initiated surveillance along the Massachusetts
Turnpike late that evening, but were unable to locate the vehicle- was traveling in. At
approximately 12:45 a.m. on August 8, 201 l, surveillance agents observed a white passenger van
parked near the entrance to 250 Kennedy Drive in Malden, Massachusetts a known base of
operations for the SALDANA DTO ("250 Kennedy Drive”). Agents observed a Hispanic

female, who later identiHed herself as_ (believed to be-), exit the van

with a blue and gray backpack and enter the lobby of 250 Kennedy Drive. Agents observed
- talking on a cell phone.

28. On August 8, 2011, at approximately 12:37 a.m., Target Telephone #l received
an incoming call from telephone number (347) 231-4478, and RAMIREZ-RODRIGUE spoke
with- told RAMiREz-Rookiouis to go downstairs and piek up the woman Siioniy
thereafter, agents lost sight of- as she entered 250 Kennedy Drive.

29. At approximately 1202 a.m., agents observed- exit 250 Kennedy drive,

where she was picked up by an unidentiHed male driving a blue leep Cherokee (Massachusetts

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Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 15 of 66

registration 2X1v158, registered to Jose A. ESCOBAR; hereinafter the "Blue Jeep Cherokee”).
Agents followed the Blue Jeep Cherokee to the South Station bus terminal on Atlantic Avenue in
Boston, Massachusetts where- was dropped off. Agents followed_ into the
bus terminal where she met an unidentified Hispanic male. Agents maintained surveillance of
- and the unidentified male. After the two individuals entered the bus line, officers of
the Massachusetts Bay Transit Authority ("MBTA") police department, along with a K-9 trained
and certified in the detection of narcotics odor, conducted a baggage inspection of several bus
passengers The K-9 alerted to the blue and gray backpack that_ had carried from 250
Kennedy Drive. lnside the backpack, law enforcement found approximately $78,120, most of
which was packaged as bricks wrapped in green cellophane. _ also possessed a
Greyhound/Peter Pan bus ticket for_ to board the August 8, 2011, 2:00 a.m. bus
from Boston to New York. - told law enforcement agents on scene that, among other
things her name was_ she had no identification documents in her possession;
she was carrying approximately $78,000; the money was hers; and she sold jewelry and collected
interest on loans - was unable to provide any documentation that the money belonged

to her. Officers seized the currency pending further investigation and did not arrest-

Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 16 of 66

 

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578.120, \`i)rl\ luis tieer lirlil l)_\‘

30. On August 9, 2011, at approximately 2:1 l p.m., Target Telephone #l received an

incoming earl from (347) 234-1081, and RAMIREz-RODRIGUE spoke co- told
RAMIREZ-RODRIGUE that he needed a favor and that he had a “person close to” RAMIREZ-
RODRIGUE. - asked if RAMlREZ-RODRIGUE could provide him with “400 dollars for
-] to pass them along to him for him to make a . . . correction.” - said he would "deliver
everything" to RAMlREZ-RODRIGUE on Saturday, but that “this person” had- “behind
with 250-something dollars." - ater stated that he planned to leave for “20 days" to visit the
place "where we`re from" and therefore needed to "resolve it this week." He further stated,
"You know how l am, with the problem that 1 have right now, you know what l mean? That`s
why l’m asking you.” RAMIREZ-RODR\GUE said he would provide "300" to- and asked
if that would be enough. - said he had wanted "500" and that there was a “ninety-nine
percent chance that [he would] leave [RAi\‘llREZ-RODRIGUE] with eight or nine." RAl\/HREZ-
RODRIGUE asked, "[\\’]hat did you resolve with the girl‘?" - responded, "`l\/lan, that`s going
to be lost." - further stated that he and the girl met with a lawyer and determined that it was

possible to claim the seized money ifthe girl provided documentation (a "`checkbook") that she

16

 

 

Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 17 of 66

earned the money through loan repayment andjewelry sales as she told police, but the
“problem” was that she would be asked, “why didn’t she pay taxes for that?” - continued,
“ln twenty -something years[,] nothing had ever happened to me, but right now this little
problem has presented itself. RAMIREZ-RODRIGUE said he would give- "three hundred,"
adding, "Tell the man that we’re going to get you three hundred.” - replied, “Let"sjust say
three and a half. . . to see if he doesn’t kick the crap out of me.” - said he would give
RAMIREZ-RODRIGUE’$ telephone number to an individual who would contact RAl\/IIREZ-
RODRIGUE to make arrangements

31. l believe that- informed RAM[REZ-RODR!GUE that he was approximately
$80,000 in debt to his drug supplier (“behind with 230-something dollars”) because ofthe seizure
ofapproximately $78, 120 from- at South Station on August 8, 201 l; that-had
considered trying to reclaim the money seized from- but that the money was likely “1ost”;
that- sought $400,000 from RAMIREZ-RODRIGUE to cover both the approximately
$80,000 loss and to pay for an anticipated shipment of"eight or nine" kilograms ofnarcotics for
the SALDANA DTO; and that RAM[REZ-RODRIGUE ultimately agreed to provide-
approximately $350,000 ("three and a half`) to an unidentified individual working on behalfof
_ A subsequent series of intercepted establish that RAM[REZ-RODR[GUE enlisted
MART[NEZ-TlBURClO to deliver approximately $357,000 to an unidentified courier for-.

b. wtember 26, 2011: Seizure 01'2 Ki|ograms Heroin From §§
Route t0 SALDANA DTO

32. On September 25 and 26, intercepted calls establish that KAl\/llREZ-RODR[GUE

and CUADRADO-ALMODOVA used Target Te|ephone #4 to arrange for a two-kilogram

heroin shipment from _. That shipment was seized by law enforcement while-

- was on his way to meet SALDANA DTO members at 250 Kennedy Drive in Malden.

17

 

 

 

 

 

Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 18 of 66

33. On September 25, 201 l, at approximately 5:46 p.m., Target Telephone #4
received an incoming can from (973) 912-2746, and_ told RAMIREz-RoDRIGuE
that_ had “two and a half kilo, which is a lot of money, you understand?”
RAM[REZ-RODRIGUE affirmed and spoke with_ about purchasing either “one
“muchacho” or "one and a halfmuchachos" After further discussion, RAM[REZ-RODRIGUE
and_ agreed to conduct the transaction the next day. _ told
RAl\/[IREZ-RODRIGUE, “Remember, the price is a whole lot cheaper than the one Carlos and 1
give to you." RAMIREZ-RODRIGUE affirmed. 1 believe that the "two and a half kilo”
described by_ referred to narcotics and that RAMIREZ-RODRlGUE suggested he
would purchase either one or one-and-a-half kilograms (“muchachos” literally “guys”) ofthe
narcotics the following day.

34. The next day, September 26, 201 1, at approximately l 1158 a.m., Target
Te|ephone #4 received an incoming call from (978) 912-2746, and RAMIREZ-RODRIGUE
asked_ “[A]t how much did you say that was?” _ answered, “with the
seven, zero.” RAMIREZ-RODR[GUE told_ that the price was “expensive" and
that “there is a guy who told [RAMIREZ-RODRIGUE] it was six and a half.” The two
continued to negotiate what 1 believe to be the price of narcotics _ stated, “Tell me
what we have to do so we can do business." RAMIREZ-RODRIGUE responded, “Put it to me
with the six, five to see ifwe can do something." _ agreed: “Okay, that’s done.”
RAM[REZ-RODR[GUE asked_ to give him “one and a halfor one.” After
continued negotiation, _ told nAMiREz-RODRIGUE, “Take the two[;] take the

two[;] don’t worry about it." RAMIREZ-RODRIGUE agreed.

18

 

 

 

 

Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 19 of 66

35. 1 believe that_ initially proposed a per-kilogram price of$70,000

(“with the seven, zero”), which is consistent with the retail price of heroin and which
RAMIREZ-RODRIGUE rejected as too expensive; that the parties eventually agreed to a price
of$65,000 per kilogram ("with the six, five"); and that RAM[REZ-RODRIGUE agreed to
receive two kilograms of heroin from- (“Take the two[;] take the two[;] don’t
worry about it.”).

36. At approximately 12117 p.m., Target Te|ephone #4 received an incoming call
from (978) 912-2746, and RAMIREz-RoDRiGUi-: asked-, ‘~Ate you the one who
is going to bring it?” _ affirmed The parties then discussed the logistics ofthe
meeting, and agreed to talk later.

37. At approximately 2118 p.m., Target Te|ephone #4 received an incoming call from
(978) 912-2746, and_ told kAMiREz-Rooniouiz, ~"i’tn going with my gin
because 1 haven’t seen her in a while.” _ added, “1 will bring her myself.” As
discussed below,_ “girl” likely referred to ajuvenile female who may have been

the daughter of_ girlfriend, and was a passenger in_ vehicle when

law enforcement stopped the vehicle

38. Later, starting at approximately 3:13 p.m.,-, RAMIREZ-
RODRIGUE, and CUADRADO-ALMODOVA (who at the time was sharing Target
Te|ephone #4 with RAMIREZ-RODRIGUE) engaged in a series ofconversations regarding
logistics for the narcotics transaction _ provided his location at various times and
received further directions from RAMIREZ-RODRIGUE and CUADRADO-ALMODOVA.

Based on the landmarks and intrastate route names referenced in those conversations 1 believe

19

Case 1:12-cr-10219-NI\/|G Document 2-10 Filed 07/06/12 Page 20 of 66

that RAMIREZ-RODRIGUE and CUADRADO-ALMODOVA attempted to direct-
- to the area of 250 Kennedy Drive in Malden.

39. At approximately 3:32 p.m., RAM[REZ-RODRIGUE placed an outgoing call on
Target Teiephone #4 to (978) 912_2746, and_ instructed RAMiREz-RODRIGUE;
‘~'Teli him to come meet me here, you know." RAMIREz-Rooaioui~: told_ to
“wait a moment” and then CUADRADO-ALMODOVA continued the conversation with-
-over Target Te|ephone #4, providing further directions _ stated he was “at
the gas station on ninety nine. Pick me up. Pick me up." CUADRADO-ALMODOVA instead
again provided further directions At approximately 3:40 p.m., Target Telephone #4 received an
incoming ca11 from (978) 912_2746, and_ told cuADRADo-ALMoDovA that he
was at the “Petroleum King” gas station “between ninety nine and sixty.” CUADRADO-
ALMODOVA provided further directions to a location believed to be 250 Kennedy Drive in
Malden.

40. During the above call, surveillance agents observed a gray Mitsubishi Endeavor
bearing Massachusetts registration 49N950 (hereinafter, the “Gray Mitsubishi Endeavor")
containing_ and ajuvenile female at the Petroleum King gas station on Salem
Street in Malden, Massachusetts near the intersection of Route 99 and Route 60. Agents
observed_ using a cellular telephone

41. Shortly thereafter, an officer from the Malden Police Department observed the
Gray Mitsubishi Endeavor run a red light while taking a left turn from the right lane of
eastbound traffic on Salem Street to head north on Broadway (Route 99). The officer conducted
a traffic stop ofthe vehicle. During the traffic stop, Target Te|ephone #4 received an incoming

call from (978) 912-2746. CUADRADO-ALMODOVA answered the call and stated, "Tell me

20

 

 

 

 

 

Case 1:12-cr-10219-N|\/|G Document 2-1O Filed 07/06/12 Page 21 of 66

man.” _ stated, "'They have me stopped . . . [T]hey have me stopped here, the blue
ones.” cquRADo-ALMoDovA asked, “what?” - iepeated, ‘~rhe blue ones
have me stopped." CUADRADO-ALMODOVA affirmed, and the ca11 ended.

42. The officer asked_ for his license and registration -

apologized for running the red light. _ provided a New Hampshire driver’s license
bearing his picture and the name_. _ originally stated that the vehicle
belonged to his wife, but later said that it belonged to a friend. _ was shaking and
appeared nervous While the Malden Police Officer was writing a ticket for the traffic violation,
a Massachusetts state police trooper stopped to provide assistance. The state trooper observed in
plain view in the car’s interior, an amber prescription pill bottle with the prescription label
removed. The bottle contained unidentified pills Officers asked_ to step out ofthe
car, and conducted a pat frisk. Officers obtained- verbal consent to search the
vehicle. The state trooper then drafted a written consent to search the vehicle. The female
passenger explained the consent form to_ in Spanish, and he signed it.

43. With the assistance of a K-9 unit, agents subsequently located two kilograms of
suspected heroin in a hidden compartment behind the speedometer ofthe Gray Mitsubishi
Endeavor. Laboratory analysis has confirmed that the substance was heroin weighing almost

two kilograms

21

Case 1:12-cr-10219-N|\/|G Document 2-1O Filed 07/06/12 Page 22 of 66

 

figure 3: fliildcn compartment in dashboard of- 1~ i'_'_ure slt \ppro\im;itely iu n kilograms ofheroin.
_ \'eliicle. i\re\t‘ription\ bottles containing controlled substances
;iiiil the cell phone u\c<l to communicate \\iili the
5,\1,|) \\ \ 111(). siliich \\eri: seized from
\ cliiclc,

44. _ was arrested on Massachusetts charges of'l`rafficking a Controlled
Substance (heroin).8 lt was also discovered that_ was wanted in Massachusetts for
drug trafficking violations out ofPlymouth County Court from 1993. _ had
previously been deported and was unlawfully present in the United States -
eventually posted bail and was released, but was taken into custody by 1 mmigration and Customs
Enforcement and deported to the Dominican Republic_

45. On September 27, 2011, at approximately 9:59 a.m., Target Telephone #4
received an incoming call from (617) 888-8445, and RAMIREZ-RODRIGUE spoke to an
individual later identified as MONTANEZ. RAMIREZ-RODRIGUE asked MONTANEZ if he
“had heard anything from the man.” MONTANEZ told RAl\/llREZ-RODRIGUE, "Oh yes he’s
there, they have him.” RAMIREZ-RODRIGUE asked, "An[d] the thing'.’ There on the stretch?”

MONTANEZ replied, “Yes." MONTANEZ asked, "Was it one shirt'.’" RAi\/flREZ-

 

8 F was also charged with; providing a false name at booking;
possession o a ass E Controlled Substance (tacrolimus and hydrocholorothiazide ; and
ossession ofa false license. m has also used the names Wand
* ln addition, a ami y mem er who arrived at the police station on t e ay o is

arrest re erre to him as “Tony.”

 

 

 

 

 

 

 

Case 1:12-cr-10219-N|\/|G Document 2-1O Filed 07/06/12 Page 23 of 66

RODRIGUE replied, "l’m waiting for two, he was supposed to bring two shirts” MONTANEZ
said, “Oh, two shirts” RAM[REZ-RODR[GUE affirmed. MONTANEZ told RAMIREZ-
RODRIGUE to “keep going forward.” RAMlREZ-RODRIGUE replied, "No, 1 have to see what
happened so 1 can go forward . . . fuck.” MONTANEZ told RAMIREZ-RODRIGUE, “1 will see
if1 can help him with something . . . 1 will see . . . l’m make an effort to see . . . see ifhe can get
bail, you understand?” RAMIREZ-RODRIGUE affirmed. The two continued their
conversation, and MONTANEZ agreed to report back to RAMIREZ-RODR[GUE after his
attempt to acquire information about the arrest o-

46. 1 believe that RAM[REZ-RODRIGUE called MONTANEZ to inquire about the
police stop or- that MoNTANEz informed RAMiREZ-Rooniouis that-
- was arrested (“they have him”); that RAMIREz-RoDRiGUE asked MoNTANEz
about the heroin that_ was delivering to RAMIREZ-RODR[GUE (“An[d] the
thing? There on the stretch?”); that MONTANEZ confirmed that the heroin was seized and asked
about the number of kilograms ("shirts”) that RAM[REZ-RODRIGUE was going to receive; that
RAMIREZ-RODRIGUE said he had been waiting for two kilograms (“he was supposed to bring
two shirts”); that MONTANEZ told RAl\/llREZ-RODRIGUE to continue to distribute narcotics
(“keep going forward man”); and that RAMIREZ-RODRIGUE expressed concern about the
arrest of_ and sought further details (“No, 1 have to see what happened so 1 can go
forward.”). RAMIREZ-RODR[GUE ceased use of Target Te|ephone #4 on or about September

27, 201 1. Based on subsequent intercepted, 1 believe that MONTANEZ helped to raise bail

23

Case 1:12-cr-10219-N|\/|G Document 2-1O Filed 07/06/12 Page 24 of 66

c. November 18 2011: $l70.310 of Suspected Drg Proceeds Seized from

47. A member ofthe- DTO helped arrange for the November 18, 201 1 pick-up of
drug proceeds from 250 Kennedy Drive in Malden. On November 18, 2011,_
- a courier for the- DTO, was observed at 250 Kennedy Drive. Later that day, law
enforcement agents seized approximately 8170,310 in suspected drug proceeds from-
-while he was traveling in a passenger van back to New York. Te|ephone calls and
surveillance surrounding this incident are summarized below.

48. On November 17, 201 1, at approximately 8:39 p.m., RAMlREZ-RODR[GUE
placed an outgoing call on Target Te|ephone #5 to (34'/') 904-0414 and spoke to- son,-
-. RAMlRl~:z-Rookloul-; told_ that ~‘vieio” was supposed to call
RAM[REZ-RODRIGUE that night “to see if the guy is going to come tomorrow or what‘?”
_ said he would call ~"viejo” and asked RAMIREz-Rooaioul-; what he should
tell “Viejo.” RAM[REZ-RODRIGUE responded that there would be around “160 or 170.”
- said he would let “Viejo” know and would call back RAMIREZ-RODRIGUE.

49. At approximately 8:48 p.m., Target Te|ephone #5 received an incoming call from
(347) 904-0414, and_ told RAM[REZ-RODRIGUE, “l'm going to send the guy, you
know what l mean'.’" RAl\/llREZ-RODRIGUE affirmed, and the two discussed "bus” schedules
and the timing of“the guy’s” arrival in Malden, stating he would arrive around noon. The
parties also discussed “papers,” likely referring to payment for narcotics

50. The next morning, November 18, 201 1, agents established surveillance in the area
of 250 Kennedy Drive in i\/Ialden.

51. At approximately 8:58 a.m., RAMIREZ-RODRIGUE received an incoming call

over Target Telephone #5 from (347) 972-5241, and RAM[REZ-RODRIGUE spoke to a then-

24

 

a,-`,.» .a.~M,., sham 1a we ,i,`,a .u…\t……~ ~.,,,.i,t.,{r,_,`,".a». ~»».,,w

 

 

Case 1:12-cr-10219-N|\/|G Document 2-1O Filed 07/06/12 Page 25 of 66

unidentified male, who said he was “here in Boston.” RAM[REZ-RODRIGUE told the caller
that he would be at the house in a little while.

52. At approximately 9:18 a.m., 1 observed a Hispanic male carrying a black gym bag
walk along the west-side entrance of 250 Kennedy Drive and proceed to the rear door where lie
entered the building The then-unidentified male was in his early thirties with a tall, medium
build. He wore a baseball cap, grey hooded sweatshirt, and blue jeans He placed the sweatshirt
hood over his head before he entered the rear door of250 Kennedy Drive. This individual was
later identified as_

53. At approximately 10:43 a.m., 1 observed RAMIREZ-RODRlGUE exit the rear
door of 250 Kennedy Drive and depart in a gray Mitsubishi Endeavor bearing Massachusetts
registration 335NR8, registered to Randy R. Baez, 163 West Street, #1, Lawrence, MA 01841-
3440 (hereinafter, the “Gray Mitsubishi Endeavor”).

54. At approximately 11:21 a.m., RAM[REZ-RODRIGUE received an incoming call
over Target Te|ephone #5 from CUADRADO-ALMODOVA, who asked RAMlREZ-
RODRIGUE whether “someone from the bus company” had called him. RAM[REZ-
RODRIGUE said, “No.” CUADRADO-ALMODOVA stated that he had provided RAMIREZ-
RODRIGUE’s number and laughed. At approximately 11:53 a.m., RAMlREZ-RODRIGUE and
CUADRADO-ALMODO VA spoke again. RAM[REZ-RODRIGUE stated, "The bus company
people have not called. Tell him to call them again to see,just in case." CUADRADO-
ALMODOVA said, “He called them, yes,” and “he is going to be the last to be picked up." 1
believe that RAMlREZ-RODRIGUE and CUADRADO-ALMODOVA discussed arrangements

to have- picked up from 250 Kennedy Drive and that RAM[REZ-RODRIGUE,

Case 1:12-cr-10219-N|\/|G Document 2-1O Filed 07/06/12 Page 26 of 66

who had left 250 i<ennedy Drive, directed cuADRADo-ALMoDovA to instruct-
- to ca11 the bus company again to arrange for_ pick-up.

55. At approximately 12:07 p.m., Target Te|ephone #5 received an incoming call
from (617) 524-0585, and an unidentified female stated, "You can come outside, sir. The bus is
arriving.” Approximately one minute later, RAMIREZ-RODRIGUE called CUADRADO-
ALMODOVA and said, "Tell him to come down, that the bus is arriving.” CUADRADO-
ALMODOVA affirmed. 1 believe that the bus service contacted RAMIREZ-RODRIGUE at the
number CUADRADO-ALMODOVA had provided, and that RAMIREZ-RODRIGUE, in turn,

instructed CUADRADO-ALMODOVA to tell_ to wait outside 250 Kennedy

 

Drive for the bus

56. At approximately 12:14 p.m., a surveillance agent observed a blue Ford van
bearing livery plate LV58456 (hereinafter, the “Blue Ford Van”) enter the 250 Kennedy Drive
apartment complex. At approximately 12:15 p.m., other agents and 1 observed the Blue Ford
Van arrive at 250 Kennedy Drive and then proceed backwards down the west-side driveway by
the main entrance. At the same time, surveillance agents saw the same Hispanic male carrying
the same black gym bag he entered with, which appeared to be weighted, exit the north side door
of 250 Kennedy Drive and approach the blue van. The Hispanic male entered the van with the
bag, and the van departed

57. At approximately 4:00 p.m., the New York State Police conducted a traffic stop of

the Blue Ford Van. This stop resulted in the identification o_ of New

York and the seizure of approximately $170,310 from the same black gym bag-

carried to and from 250 Kennedy Drive. 1 believe that_ was transporting

 

narcotics proceeds (specifically, payment for the narcotics delivered to the SALDANA DTO) to

26

 

Case 1:12-cr-10219-N|\/|G Document 2-1O Filed 07/06/12 Page 27 of 66

New ¥ork, as generally described in the above-referenced calls between RAMlREZ-
RooRioui-: and_ (in which RAMiRl-:z-Rooalouis stated that there would be
around “160 or 170,” referring to s160,000 or s l 70,000). _ was not arrested
He did not identify the origin ofthe seized currenc_v.

58. Following the traffic stop, there were numerous calls between RAMIREZ-
R()DRIGUE and members ofthe- DT(). At approximately 4:08 p.m., Target Te|ephone
#5 received an incoming call from (809) 326-1270, and RAMIREZ-RGDRIGUE spoke to
-, who was in the Dominican kepublic at the time. - told RAMiREz_RoDRiGuE,
“Damn! The guy is calling me; the bus was pulled over man.” RAMIREZ-R()DRIGU.E replied,
"Really‘? Damn it!” - continued, “[H]e called me that . . . [stutters] that the bus was
stopped and they are asking for lD.” RAMIREZ-RODRIGUE told- that the male had left
at 12:00 p.m. and that because it was 5:00 p.m., the male had to be almost in New ¥ork. -
stated, "Let’s wait for the greater power of God." RAMIREZ-RODRIGUE responded, “Yes, but
he has to drop that and put that away, around there, if anything." 1 believe that- called
RAMIREZ-RGDRIGUE to inform him that_ had been stopped by police, and
that RAMlREz_RoDRlGUE indicated that_ should conceal or abandon the
money ("drop that and put that away").

59. At approximately 4:37 p.m., RAMIREZ-RGDRIGUE placed an outgoing call
from Target Te|ephone #5 to (347) 904-0414 and spoke again with- son,-

RAMiRi-:z~ltooitlouis asked_ about his brother. - stated, “we think

that he`s in trouble right now." RAM[REZ-R()DR[GUE stated, "Yes because your dad called
me, and told me that his bus was pulled over, and 1 told him that ifit was stopped[,] it must have

been almost getting there, because he left from here like three hours ago.” -a said that

 

 

Case 1:12-cr-10219-N|\/|G Document 2-1O Filed 07/06/12 Page 28 of 66

his brother had not yet called again. RAMIREZ-RODRIGUE stated, “[G]od willing at least he
drops that there” and says “that doesn’t belong to him.” - affirmed. RAMIREZ-
RODRIGUE continued, “Of course, so he [STUTTERS] says “[T]hat is not mine. 1 don’t
know.” Right?” - replied, "God willing.”

60. At approximately 4:59 p.m. RAM[REZ-RODRIGUE received an incoming call
from (617) 524-0585, a telephone number believed to be used by Geraldo’s Transportation
Company. An unidentified female asked RAMIREZ-RODRIGUE if someone left his residence
traveling to New York from 250 Kennedy Drive. RAl\/[lREZ-RODRIGUE replied “No, no[,]
no.” The female asked if she had the wrong number, and RAMIREZ-RODR[GUE replied,
"Yes.”

61. Approximately one minute later, RAM[REZ-RODRIGUE called-
again from Target Te|ephone #5. _ said there was “no news yet." RAM[REZ-
RODRIGUE stated, “[T]hey were calling me, you know. . . [STUTI`ERS] He called from my
phone to make the bus reservation.” - affirmed. RAMIREZ-RODR[GUE continued,
“And they called me from-just now and they asked me if someone had traveled from
250 Kennedy Drive. . . And 1 told them no.” - said, “Oh my God.” He later stated,
“They must already have him, for sure.” RAM[REZ-RODR[GUE stated, “When he arrived at
the bus he should have left the bag around there, and have tried not to draw attention to himself
and the bag.”

d. Removal of Items from 250 Kennedv Drive
62. Shortly after his conversation with -, RAMIREZ-RODRIGUE spoke

with FRANCO, CUADRADO-ALMODOVA, and MARTINEZ-TIBURCIO about removing

Case 1:12-cr-10219-N|\/|G Document 2-1O Filed 07/06/12 Page 29 of 66

 

items from 250 Kennedy Drive in response to the police stop ofthe van that was carrying
_-

63. For example, in a call placed from Target Te|ephone #5 at approximately 5:02
p.m., RAM[REZ-RODR[GUE told FRANCO that they needed to "go up there tonight and take
out what is there” and move it to “another room" that “Chifuco" (i.e., MART[NEZ-TlBURClO)
had the key for. Next, in a call placed from Target Te|ephone #5 about two minutes later,
RAM[REZ-RODRIGUE told CUADRADO-ALMO[)OVA that he "just called Ruby [i.e.,
FRANCO] now, and what l’m thinking is to go up there and take out everything that’s over
there, just in case.” RAMlREZ-RODRIGUE further said he wanted to “go and take it out, and
take it to the other house . . . At least the two things . . . with everything that is inside. . . .
Because you know how it is. You never know, and because it is so recent.”

64. Based in part on the above-referenced calls 1 established surveillance at the rear
parking lot of 250 Kennedy Drive. At approximately 6:20 p.m., 1 saw FRANCO arrive in a gray
Honda Pilot bearing Massachusetts registration 332LY5 (registered to Xiomara DlAZ-CRUZ, 4
1nman Street, Apt. 6, Lawrence MA 01843; hereinafter, the “Gray Honda Pi|ot”). FRANCO
walked around to the east side ofthe building and out of sight. At approximately 6:30 p.m., 1
saw RAMIREZ-RODRlGUE and CUADRADO-ALMODOVA arrive at 250 Kennedy Drive in
the Gray Mitsubishi Endeavor. Both entered the rear door ofthe building Shortly thereafter,
RAMlREZ-RODR[GUE, CUADRADO-ALMODOVA, and FRANCO began moving various
object out of 250 Kennedy Drive and loading them into their vehicles Among the items they

removed and loaded into their vehicles was a large bedroom dresser.

29

Case 1:12-cr-10219-N|\/|G Do‘cument 2-10 Filed 07/06/12 Page 30 of 66

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A\1.\-1()1)()\'.'\ remo\ ing a white dresser from 1511
Kenneil_\ l)i‘ivc. 'l`lic camera time stamp i\
approximately one hour fn\t.

65. Shortly after 7:00 p.m., while 1 was watching CUADRADO-ALMODOVA and
FRANCO load boxes into the Gray Honda Pilot, MARTlNEZ-T[BURC[O arrived and met with
them. All three individuals returned to the back door of 250 Kennedy Drive. All four
SALDANA DTO members continued to carry various objects including boxes what appeared to
be cooking pots a tool box, and a vacuum cleaner, from 250 Kennedy Drive to their vehicles

66. At approximately 7:21 p.m., 1 saw CUADRADO-ALMODOVA and
MARTINEZ-T[BURC[O walk away from the Gray Mitsubishi Endeavor and enter a red Ford
Escape with New Hampshire registration 3212007, registered to Landa F. MART[NEZ
PEGUERO of3 Beech Street, Apartment 2, Nashua, New Hampshire (hereinafter, the "Red Ford
Escape”).

67. The parties then departed in the Gray Honda Pilot, the Gray Mitsubishi Endeavor,
and the Red Ford Escape. All three vehicles followed each other with the Red Ford Escape
leading the way. The vehicles traveled on Route 1 northbound. generally staying in the right lane
and driving at a speed much less than the posted speed limit. Surveillance was terminated on

Route 1. Based in part on GPS data, agents believe that the vehicles traveled to a multi-unit

30

 

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 31 of 66

apartment complex named Lynnfield Commons, located at 375 Broadway in Lynnfield,
Massachusetts where MARTINEZ-TIBURC[O leased an apartment..

68. Based on intercepted calls during December 201 l, and surveillance that month
and during January and February, 1 believed that 375 Broadway was a stash location. The use of
an apartment for that purpose was confirmed with the execution of a search warrant at that
location in February 2012, as described below. During the execution ofthe search warrant,
many of the above-described items which 1 observed SALDANA DTO members remove from
250 Kennedy Drive, were seized from the 375 Broadway stash location.

e. Febru@' MOIZ: Seizure 01` Narcotics and Drug ProceeL and Drg&
Processing Eguigment from 375 Broadwavg Builditg{ 1, Apartment G-lhg
Mnnt'ield, Massachusetts

69. On the morning ofFebruary 9, 2012, agents executed a federal search warrant at
375 Broadway, Building l, Apartment G-10, in Lynnfield, Massachusetts that yielded
considerable evidence of narcotics trafficking Agents obtained a search warrant after a building
resident complained about strong chemical odors and suspicious activity occurring in Apartment
G-10. Agents seized approximately 5.5 kilograms of heroin, 200 grams of cocaine, 4.8 grams of
crack, approximately $48,990 in suspected drug proceeds and other evidence of drug trafficking,
including approximately 97 bottles of lactose (a common narcotics cutting agent), multiple
blenders and coffee grinders, a hydraulic kilogram press metal “finger” presses (commonly used
to prepare heroin for distribution in lO-gram or "finger” quantities), a respirator mask labeled
with the name “Chifu” (short for Chifuco, an alias for MARTINEZ-T[BURC[O), a respirator
mask labeled with the name “Bija” (an alias for RAM[REZ-RODRIGUE), and notebooks
containing ledgers of drug-trafficking activity. The suspected drugs drug ledgers and currency

were concealed inside the same dresser that agents observed RAM[REZ-RODRIGUE and

31

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 32 of 66

CUADRADG-ALMODOVA wheel out of 250 Kennedy Drive on November 18, 2011. The

dresser contained a motorized hidden compartment

 

figure (): l)i'essei' tl\at \\as removed l`i'l)ni 250 l~`it{ure ": Siinie dresser i\itli top i'cmo\cd, i‘e\ ceiling drugs
Kennedy lll'i\`c on \'i»\eml)t’r 18, 201 l. money and drug ledgers

70. Consistent with a well-established pattern of activity, FRANCG arrived at 375
Broadway, Building 1, in his Gray Honda Pilot around 10:00 a.m., shortly after the search was
completed, and entered 375 Broadway, Building 1. He was soonjoined by other known
members ofthe SALDANA DTO_RAM[REZ-RODRIG UE, CUADRADO-ALMGDOVA,
MARTINEZ-T[BURC[O, and LGPEZ-SANTOS. Agents observed and videoed their arrival.
The SALDANA DTG ceased using 375 Broadway as a drug stash/processing location following
the execution of the warrant.

f. DecemberL 2011: Seizure of Cocaine and Heroin En Route to LEBRON-
RIVERA

71. Gn December 23, 2011, LEBRGN-R[VERA engaged in a series of conversations
over Target Te|ephone #8 with a woman later identified as_. At
approximately 1122 p.m., the parties discussed the timing of- arrival. At approximately
3:23 p.m., LEBRON-RIVERA placed an outgoing call on Target Te|ephone #8 to-, who

told LEBRON-R[VERA, "1 just arrived, but down here there are two badges in . . . surrounding

32

 

 

 

 

 

 

 

 

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 33 of 66

the bus.” LEBRON-RIVERA asked ifthere were two dogs and-replied that she was not
off the bus yet but, there are “guys” “around the bus.” bEBRON-RIVERA told- "'[G]et
off normally, like it’s not with you, calm. Without a problem and . . . and take your taxi . .
- told LEBRON-RIVERA she did not think she would be able to get the “suitcase.”
LEBRON-RIVERA stressed to- to take the suitcase calmly and “go with God." - told
LEB RON-RlVERA that “they are looking at the suitcases here in the bus" LEBRON-RIVERA
asked if"they” were opening them. - replied that “they,” referring to law enforcement
agents were not opening the suitcases but were waiting for people to get off the bus and were
i‘waiting for something.” - told LEBRON-RlVERA that she was going to have to "\valk"
“without luggage.” LEBRON-RlVERA told_ fshe saw that "they are checking people’s
suitcases,” she should “leave everything behind.” He continued, "lfthey are not checking, take
your suitcase normally[,] like it’s nothing.” LEBRON-RIVERA further told- not to "talk
anymore through the phone.” Agents believe that- informed LEBRON-RIVERA that law
enforcement agents (“badges”) were inspecting baggage on her bus; that LEBRON-RIVERA
instructed- that she should leave her “suitcase" behind ifshe thought law enforcement
would inspect its contents but that she should otherwise take the "suitcase" without drawing
attention to herself; and that LEBRON-RIVERA instructed her not to communicate further by
phone.

72. At approximately 3:52 p.m., LEBRON-RIVERA placed an outgoing call from
Target Te|ephone #8 to (312) 735-4690, a cellular telephone used by an unknown male
(“UM4690”). During the call, LEBRON-RIVERA asked the Ul\/l4690 what he had heard.
UM4690 told LEBRON-RIVERA that “she" called him and said, "[T]hey were calling

everybody and asking for le and asking where were they going.” LEBRGN-RIVERA and

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 34 of 66

UM4690 then discussed what "she” should say about where “she” was going LEBRON-
RIVERA told Ul\/l4690 how he was worried that when he had to meet “that woman” later that
“they” would follow her. Toward the end ofthe conversation, LEBRON-RIVERA asked
UM4690, “There were no clothes of hers there, right?” Ul\/l4690 said “No, no. Everything is
fine . . . There was clothes for, for . . . from a very fat guy.” Agents believe that the parties were
discussing the law enforcement action occurring around- bus and whether- clothes
were in her suitcase. The suitcase contained narcotics as described below, and agents believe
that the parties worried that_ clothing could have enabled law enforcement to determine
that the suitcase belonged to her.

73. Agents subsequently seized approximately six kilograms heroin, two kilograms of
cocaine, and a 1.4 grams of crack from an unclaimed bag on the bus. The narcotics were hidden
in two cardboard children’s toy boxes inside the bag. The bag also contained clothing for a large
male, consistent with the description provided in the previously described ca11 between
LEBRON-RIVERA and Ul\/l4690. According to DEA laboratory analysis the heroin purity was
at least 93 percent; the cocaine purity was about 75 percent.

74. Agents spoke with -s in both Spanish and English. - who told agents
her name was_ provided agents with a Tennessee Operators License bearing the
name_ 3075 Pecan Lake Drive #106, Memphis, Tennessee. - stated
that she had traveled from Memphis, Tennessee, to New York and then to Boston. She said she
planned to stay in Boston for three days She said she did not bring any luggage with her. She
did not claim any bags from the bus She voluntarily provided agents with her cell phone, and

agents confirmed that the cell phone number was (901) 601-6243 (the same number over which

34

 

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 35 of 66

she had just been intercepted talking to LEBRON-RIVERA) before returning it to her. -
was not arrested and provided no further information.

75. Based on intercepted calls and evidence gathered throughout this investigation, 1
believe that- was transporting narcotics on behalf of an lllinois-based drug-trafficking
organization; that- was in the Boston area on December 23, 201 1, to deliver a shipment of
narcotics to LEB RON-RIVERA, and that as a result of law enforcement activity, the shipment of
narcotics was seized.

76. Toll records establish that on the day ofthe seizure, FRANCO and RAMIREZ-
RODRIGUE each placed several calls to LEBRON-RIVERA (who was using a second phone
not subject to interceptions) that went unanswered. The day ofthe seizure, RAMIREZ-
RODRIGUE and FRANCO spoke about their inability to reach LEBRON-RIVERA and their
understanding that LEBRON-RIVERA still did not have the narcotics “in hand.” Based on these
contacts and other information gathered in the investigation, 1 believe that a portion ofthe
narcotics LEBRON-RIVERA tried to obtain was intended for the SALDANA DTO.

III. Analvsis of Drug Ledgers Seized from 375 Broadway

77. Multiple drug and money ledgers were seized from the 375 Broadway stash
apartment on February 9, 2012. Among other information, the ledgers indicate money flows to
and from customers money flows to and from suppliers and quantities and types of drugs that
were distributed by the SALDANA DTO.

78. FRANCO expressly referred to one ofthe money ledgers in a call with drug
customer "Peje." Specifically, on December 28, 201 l, "Peje” called FRANCO and expressed a
desire to "clear up an account." '1`he parties discussed specific dollar amounts and a dispute

arose as to whether "Peje" had paid "fifty, two-sixty"’ (850,260) or "forty nine two sixty"

§
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Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 36 of 66

($49,260), as alleged by FRANCO. FRANCO explained that because he “reports to Vija”_i.e.,
RAMIREZ-RODRIGUE-~he “writes the date and amount of what he receives." He further
explained that he “does not keep that in memory, but writes it down daily and can even ask|:]
about things when Cesar was around." FRANCO said he believed “Peje" had paid the $49,260

on December 14th and would verify that fact. The ledger entry for December 14, 201 l is below.

 

 

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ll'i;_{urc 8: liedger entry from December
l-l. 2011. showing payment ltv "l’eje" in
the amount ol`$-l").l(\ll.

79. 'fhe drug ledger covers the period from approximately December 16, 201 1,
through February 8, 2012 (less than two months). Ledger entries include the notion "B” or "M.”
“B” is believed to be short for “blanca,” the Spanish word for "white,” referring to cocaine, "l\/l"
is believed to refer to “montega" or “manteca”-Spanish slang terms for heroin. A preliminary

analysis ofthe ledger entries indicates that during the period from December 16, 2011, through

36

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 37 of 66

February 8, 2012, the SALDANA DTO distributed approximately l 1.8 kilograms of cocaine and
approximately 27.2 kilograms of heroin.9
[V. Other Surveillance and Drug-Related Calls Involving Defendants.

a. Decem ber 5 - 7 MONTANEZ Arram!_ed Deliveg/ of Approximatelv 4.4
Kilograms of Heroin to SALDANA DTO at 250 Kennedy Drive.

80. Based on surveillance, intercepted calls and ledger entries 1 believe that on
December 5, 201 l, MONTANEZ sent a courier to 250 Kennedy Drive to deliver a sample of
heroin to the SALDANA DTO. FRANCO had the sample tested on December 6, 201 1.
Satisfied that the narcotics were of sufficient quality, RAMIREZ-RODRIGUE and FRANCO
made arrangements with MONTANEZ to purchase 4,440 grams ofheroin for $83 per gram.
MONTANEZ delivered the heroin the evening ofDecember 7, 2011, and FRANCO provided an
initial payment of 840,000 to MONTANEZ at that time. After discussing with RAMIREZ-
RODRIGUE how much money he was owed, MONTANEZ sent a courier to pick up additional
drug proceeds from the SALDANA DTO. The courier, identified as_, met with
MARTfNEZ-TIBURCIO to pick up the money on December 13, 201 l. The transactions are
summarized below.

i. December 5, 2011: MONTANEZ Sent a§gmjle of Heroin to the
SALDANA DTO at 250 Kennedj Drive.

81. On December 5, 201 1, at approximately 411 l p.m., MONTANEZ called
RAM[REZ RODRlGUE and informed him that he had "something" but that it was expensive~
"with the eight and the seven." RAMlREZ-RODRIGUE said it was too expensive Later,
MONTAN EZ said that he could "lower it by two points to eight and five.” RAM[REZ-

RODRIGUE continued to say that it was too expensive, but asked MONTANEZ to "send a

 

9 Analysis ofthe ledgers is ongoing lt is unclear whether the ledger reflects only
FRANcols distribution activity on behalrorthe sALDANA DTo.

37

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 38 of 66

sample.” MONTANEZ said that it came “directly" and that it “hasn’t had a hand laid on” it.
RAMIREZ-RODRIGUE asked for “twenty" to “try it.” MONTANEZ said he would send it the
next day. RAMIREZ-RODRIGUE instructed him to "bring it to Tio over there, same as
always.” RAMIREZ-RODRIGUE said that “Tio" would be at the location after 7:00 or 8:00 that
evening

82. 1 believe that MONTANEZ proposed selling KAMIREZ-RODRIGUE heroin at a
price of 387 per gram (“with the eight and the seven”); that RAMIREZ-RODRIGUE believed
the price was too high; that MONTANEZ proposed lowering the price to $85 per gram (“lower it
by two points to eight and five”); and that the parties agreed that MONTANEZ would send a
sample to the SALDANA DTO that evening, providing it to FRANCO at 250 Kennedy Drive
(“bring it to Tio over there, same as always”) later that evening

83. MONTANEZ and RANIIREZ-RODR[GUE spoke again at approximately 7:45
p.m. regarding what 1 believe to be logistics for the meeting About a minute later, RAMIREZ-
RODRIGUE called FRANCO, who said he had gotten “home” about a half hour earlier.
RAMIREZ-RODRIGUE told FRANCO that “Pichin," whom he described as "the one who
works for “Memin”" would "pass by to leave a sample." 1 believe that RAM[REZ-RODRIGUE
was confirming that FRANCO was present at 250 Kennedy Drive in order to receive the heroin
sample that would be delivered by a courier ("Pichin”) for MONTANEZ ("Memin")_

84. At approximately 7:47 p.m., RAM[REZ-RODRIGUE called l\/lONTANEZ and
instructed him to “tell Pichy [ph] to go over there.” The parties continued to discuss what 1
believe to be a comparison of per-gram prices that MONTANEZ and others charged for heroin,
MONTANEZ concluded the conversation by telling RAMIREZ-RODRlGUE to "try that one

and if you don’t like it,just call me.”

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 39 of 66

85. At approximately 7:57 p.m., MONTANEZ called RAMIREZ-RODRIGUE and
instructed him to "tell the old man to go where the trash is . . . because the man is there.”
RAM|REZ-RODRIGUE asked, "Through the back?” MONTANEZ affirmed. 1 believe that
MONTANEZ told RAM[REZ-RODRIGUE to tell FRANCO (“the old man”) that
MONTANEZ’s courier, "Pichin,” was arriving and that FRANCO should meet “Pichin” behind
250 Kennedy Drive, near where the trash dumpsters were located. RAM[REZ-RODRIGUE then
called FRANCO to convey this information,

86. At about 8:05 p.m., agents conducting surveillance at 250 Kennedy Drive
observed an unknown Hispanic male, operating a Gray 2004 Kia Sorento, bearing Massachusetts
Registration 561NC5, park in the rear parking lot of 250 Kennedy Drive in Malden, Agents
observed the unidentified male exit the vehicle and make his way towards the rear entrance of
250 Kennedy Drive. A short time later, agents observed the unidentified male emerge from the
same rear entrance of 250 Kennedy Drive, return to his vehicle, and depart the area. Agents
followed the vehicle and observed him proceed onto Route l southbound before terminating
surveillance. Based on these calls and observations 1 believe that MONTANEZ sent a sample of
heroin that MONTANEZ proposed selling to the SALDANA DTO.

ii. December 6, 2011: FRANCO Has the Heroin Sample Tested

87. The following afternoon7 December 6, 201 l, FRANCO and RAM[REZ-
RODRIGUE spoke multiple times about having the heroin tested, the results of the testing, and
what price they should negotiate with MONTANEZ based on the quality of the heroin,

88. At approximately 8:08 p.m., MONTANEZ called RAMIREZ-RODRIGUE. 1

believe MONTANEZ proposed sending the narcotics to FRANCO between 9:00 and l 1100 the

39

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 40 of 66

following morning They talked about the quantity of narcotics MONTANEZ would bring, as
well as the price, which remained "‘eight-three” or $83 per gram.

iii. DecembeiL 2011: MONTANEZ De|ivered Heroin to the SALDANA
DTO at 250 Kennedy Drive .

89. At 8:40 a.m. the next moming, December 7, 201 l, RAl\/llREZ-RODRIGUE
called FRANCO and told him "'to wait there" because "Memin or Pichin-~one ofthe two” would
bring FRANCO “a little something.” FRANCO asked “what level” they agreed to. RAl\/llREZ-
RODRIGUE said “eight three" and added that MONTANEZ "‘didn’t want to go lower than that.”

90. Between 9:48 a.m. and 9:50 a.m., there was a series of calls between
MONTANEZ, RAMIREZ-RODRIGUE and FRANCO regarding logistics ofthe meeting
RAMIREZ-RODRIGUE provided MONTANEZ with Franco’s telephone number, and
MONTANEZ spoke to FRANC() directly, stating he would call FRANCO when he arrived,
which he expected to be in 30 to 45 minutes and instructing FRANCO to meet MONTANEZ by
a door on the second floor. 1 believe MONTANEZ was instructing FRANCO where to meet him
in the 250 Kennedy Drive apartment building

91. Agents had been conducting surveillance of MONTANEZ since approximately
9:20 a.m. that morning when he emerged from his residence at 87 Kiely Road in Dedham,
Massachusetts At approximately l 1;05 am, the Boston Police Department conducted a motor
vehicle stop ofa brown Mercury Marquis bearing Massachusetts livery plate LV58206 on
Columbia Road at Bodwell Street in Boston. The officer confirmed the identity ofthe rear

passenger as MONTAN EZ. No narcotics were seized. Surveillance was terminated.m

 

m At approximately 9:20 a.m., agents had observed MONTANEZ depart 87 Kiely Road
in a black Ford pick-up truck bearing Massachusetts registration 6311E2. At approximately 9:53
a.m., MONTANEZ parked, exited his vehicle, and walked to the brown Mercury Marquis, which

40

 

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 41 of 66

92. FRANCO and RAMIREZ-RODRIGUE spoke at 11:14 a.m. and l 1135 a.m.
regarding MONTANEZ’$ whereabouts which were unknown. RAMIREZ-RODRlGUE noted
that he had tried to call MONTANEZ, but there was no answer.

93. At 11:50 a.m., MONTANEZ called RAl\/llREZ-RODRIGUE and said "it won’t
be possible right now.” RAMlREZ-RODRIGUE said they would need to wait until that evening
MONTANEZ agreed. RAMlREZ-RODRIGUE then called FRANCO and told him they would
“leave it for tonight” and instructed FRANCO to “leave the tickets there.” 1 believe that
RAMIREZ-RODRIGUE informed FRANCO that MONTANEZ would deliver the narcotics that
evening (“leave it for tonight”) and that FRANCO should therefore leave the money ("tickets”)
at 250 Kennedy Drive in advance ofthe transaction

94. ln a series of conversations later that afternoon and into the evening,
MONTANEZ and RAMIREZ-RODRIGUE discussed logistics for the meeting At 7:29 p.m.,
MONTANEZ called FRANCO directly to make arrangements FRANCO said he would put a
rock on the back door. MONTANEZ asked for clarification, and FRANCO described which
door to the building he was referring to. MONTANEZ, who appeared familiar with the location,
asked “ifit’s the one on the left side or right side when you get out ofthe elevator.” FRANCO
replied, “When you get out, it’s the one on the left side facing the parking on the back.”

95. At 8:01 p.m., MONTANEZ called FRANCO and said the door was closed.
FRANCO said he would open it. 'l`he parties spoke again three minutes later, and asked
FRANCO if he was on his way down

96. Although agents did not conduct surveillance ofthe meeting, subsequent phone

calls confirmed that FRANCO and MONTANEZ met. At approximately 8:38 p.m., KAMIREZ-

 

 

 

was parked on Columbia Road in Boston. MONTANEZ, who was carrying a backpack, entered
rear passenger door ofthe Mercury Marquis

41

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 42 of 66

RODRIGUE called FRANCO, who reported that “Memin stopped by here just now.” FRANCO
further stated that he "delivered the four pesos to him.” ll 1 believe that FRANCO informed
RAMlREZ-RODRIGUE that he met with MONTANEZ ("Memin"); that MONTANEZ provided
the heroin; and that FRANCO provided MONTANEZ $40,000 (“four pesos”).l2

97. The next day, December 8, 201 1, at approximately 10:50 a.m., RAM[REZ-
RODRIGUE and MONTANEZ discussed the narcotics transaction from the prior evening
RAMIREZ-RODRIGUE asked how much the “sample” was MONTANEZ said, “[S]ix-forty
each.” RAMIREZ-RODRIGUE acknowledged but said that “the scale indicates six thirty-
seven.” MONTANEZ asked whether any ofthe other samples “have more” RAMIREZ-
RODRIGUE said that he only checked two and they both “'have six thirty-seven” RAMIREZ-
RODRIGUE told MONTANEZ not to worry; he wasjust informing him. l believe that
RAMlREZ-RODR[GUE informed MONTANEZ that he had examined two ofthe narcotics
packages (“samples”) MONTANEZ had delivered, and that they each weighed 637 grams
instead of 640 grams, as RAMIREZ-RODRIGUE had expected.

iv. Decem berg 2011: MARTINEZ-TIBURCIO Provided Pz;vment to
MONTANEZ’§ Courier

98. On December 12, 201 l, at approximately 5:44 p.m., MARTINEZ-TIBURCIO
called RAM[REZ-RODRIGUE. During the conversation, RAM[REZ-RODRIGUE said, “1
don’t know ifit’s tomorrow or the day after, l’m going to tell you . . . so you go see l\/lemin.”

MART[NEZ-TlBURC[O said it would not be a problem and said he would “figure it out with

 

ll ln addition, The above-described calls that MONTANEZ placed to FRANCO at
approximately 8:01 and 8:04 p.m. were routed through a cell tower located at 252 Kennedy
Drive in Malden.

ll As described below, my belief that "four pesos" refers to $40,000 is supported in part
by subsequent calls and ledger entries

42

 

 

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 43 of 66

Memin . . . so 1 can bring him those coupons.” 1 believe that at RAMIREZ-RODRIGUE’$
request, MARTlNEZ-TlBURClO agreed to make arrangement with MONTANEZ (“Memin”) to
deliver money (“coupons”) owed to MONTANEZ by the SALDANA DTO.

99. On December 13, 2011, at approximately 11;20 a.m., RAMIREZ-RODRIGUE
called MONTANEZ and asked if"Chifuco” had called him. MONTANEZ affirmed
RAM[REZ-RODRlGUE asked whether MONTANEZ "had anything left of that around there?
Or has the price gotten more comfortable?" MONTANEZ said he would find RAMIREZ-
RODRlGUE “something of that” at a price of"‘eight one.” RAMlREZ-RODRIGUE told
MONTANEZ to "leave [it] at eight zero.” MONTANEZ agreed RAMlREZ-RODRIGUE
asked MONTANEZ to send what he could "right away to 1 can get charged up on one round[.]
[T]hat way we don’t have to do multiple rounds.” RAMIREZ-RODRIGUE then asked
MONTANEZ to send him “at least two” but then said he was not sure how much he wanted
MONTANEZ said he would call RAM[REZ-RODR[GUE back. 1 believe that RAM[REZ-
RODRIGUE confirmed that MONTANEZ spoke with MARTFNEZ-TIBURCIO ("Chifuco");
that RAM[REZ-RODR[GUE inquired about the availability of additional heroin (“anything left
of that”); that MONTANEZ proposed a transaction for 881 per gram of heroin ("‘eight one”); that
RAMIREZ-RODRIGUE negotiated the price to $80 per gram ("eight zero”); that the parties did
not establish a specific quantity of heroin before the call ended

100. RAMIREZ-RODRIGUE and MONTANEZ spoke again at l 1:34 a.m..
RAM[REZ-RODR[GUE said l"As 1 was tellingjust now, the global amount of the seven make
. . . four, four eighty for eighty three," MONTANEZ affirmed RAl\/llREZ-RODRIGUE
continued, "1t gives three, seven, one, eight hundred and forty.” MONTANEZ again affirmed

RAMlREZ-RODRIGUE continued, “Minus the forty (40) that 1 added . . . we end up at three,

43

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 44 of 66

thirty-one, eight, forty. MONTANEZ agreed, “Yes exactly, three, thirty one, eight.”
RAM[REZ-RODRIGUE said it would “end[] up at one eight, an eighty.” He continued, “Let’s
stay at eighty with what 1 am sending now.” 1 believe that RAMIREZ-RODRIGUE and
MONTANEZ discussed MONTANEZ’$ prior delivery of seven packages (“the global amount of
the seven”) containing a total of 4.480 grams ofheroin ("four four eighty”)l3 at 883 per gram,
which resulted in a total debt of$371,840 owed by the SALDANA DTO (“1t gives three, seven,
one, eight hundred and forty.”) Because FRANCO had previously provided $40,000 on
December 7, 201 1, the total debt was reduced to $331,840. This conclusion is Supported by an

entry in a ledger seized from 375 Broadway on February 9, 2012.

 

 

 

 

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S-lll,lll)ll o|`\tliit‘li iisz paid nn December 7, 201 l fit

l'"l{ \\'( ().

 

ll As noted, prior calls indicate that each package should have contained 640 grams of
heroin Seven packages multiplied by 640 gram per package would yield 4,480 grams of heroin,
as described by RAMlREZ-RODRIGUE.

44

 

 

 

 

 

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 45 of 66

101. ln anticipation ofthe money delivery by MARTINEZ-TIBURCIO to the courier
for MONTANEZ, agents established surveillance at the Lynnfield Commons apartment complex
in Lynnfield, Massachusetts and at 250 Kennedy Drive, Malden, Massachusetts-both known
bases of operations for the SALDANA DTO. Surveillance at these locations began at
approximately 12:00 p.m.

102. At approximately 12:33 p.m., MARTINEZ-TIBURCIO called RAMIREZ-
RODRIGUE. RAMIREZ-RODRIGUE asked if"l\/lemin” (i.e., MONTANEZ) had called
MART[NEZ-TIBURCIO. MARTINEZ-TIBURCIO said he missed a call from “Memin.”
RAMlREZ-RODR[GUE said that "Memin” was going to give “something” to MARTINEZ-
TlBURC[O, and asked that l\/lARTlNEZ-TIBURCIO put “it” where “Ruby” (referring to
FRANCO) was RAMlREZ-RODRIGUE added that "Gordo” (referring to CUADRAD()-
ALMODOVA) had the key. MART[NEZ-TlBURClO said that he would see CUADRADO-
ALMODOVA in the “old office,” which 1 believe refers to 250 Kennedy Drive.

103. RAl\/IIREZ-RODRIGUE and MARTINEZ-TIBURCIO spoke again at
approximately 12:35 p.m., and RAMIREZ-RODRIGUE stated, “1 agreed with this man [likely
referring to MONTANEZ] to meet at 2:00 in the afternoon.”

104. At approximately 1:05 p.m., surveillance agents observed a red 2002 Ford
Escape, bearing New Hampshire registration 322107 (registered to Landa-MART[NEZ-
PEGUERO, 3 Beech St., Apt. #2, Nashua, New Hampshire; hereinafter, the "Red Ford
Escape")l4 drive up the driveway ofthe 375 Broadway apartment complex. The Red Ford

Escape was parked in the rear of Building l. MART[NEZ-TlBURClO exited the Red Ford

 

ll The address to which the vehicle is registered is the same address that appears on the
New Hampshire driver”s license of MARTlNEZ-TIBURCIO.

45

 

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 46 of 66

Escape and proceeded to the slider doors of an apartment located to the immediate left of the rear
main door of Building l. 1 believe location to be apartment G-10, which MARTINEZ-
TIBURCIO leased, and which is the location where agents executed a search warrant on
February 9, 2012, as described above.

105. At approximately 1107 p.m., MARTfNEZ-TIBURCIO called RAMIREZ-
RODRlGUE and asked him to call “Willy” (referring to CUADRADO-ALMODOVA) so that
“Willy” could open the door for MARTINEZ-TIBURCIO. At approximately 1208 p.m.,
RAMIREZ-RODRIGUE called (978) 885-l 177 and asked CUADRA[)O-ALMODOVA (a.k.a.
“Willy”) to open up the door for “Chifuco” (a.k.a., MART[NEZ-TIBURC 10) and asked
CUADRADO-ALMODOVA, ”What is that noise?” At the same time, what sounded like a
blender was heard running in the background during the call.l5

106. At approximately 1:33 p.m., a surveillance agent observed MARTINEZ-
TlBURClO exit the apartment area and walk to the Red Ford Escape. MARTfNEZ-TIBURCIO
was carrying a large, weighted-down white plastic bag with red and black graphics printed on the
bag (possibly a Foot Locker store bag). MARTlNEZ-TIBURCIO placed the bag into the rear
hatch ofthe Red Ford Escape and departed the area. Surveillance agents followed MARTINEZ-
TIBURCIO to 250 Kennedy Drive in Malden. Agents were unable to observe MART[NEZ-
TlBURClO entering 250 Kennedy Drive, but an agent did observe the Red Ford Escape parked
unoccupied on the front left side ofthe building l

107. At approximately 2:35 p.m., a surveillance agent observed a gray Chevy
Suburban, bearing Massachusetts registration 628EZ4 (registered to Thrifty Car Rental, 40 Lee

Burbank ngy, Revere, Massachusetts hereinafter, the "Gray Chevy Suburban") park in the

 

l5 Multiple blenders were seized during the execution ofa search warrant at 375
Broadway, Building l, Apartment G~10 on February 9, 2012,

46

 

 

 

 

 

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 47 of 66

rear right parking area of 250 Kennedy Drive. An unidentified Hispanic male exited the vehicle
with a black laptop-style bag slung over his shoulder. The unidentified male appeared very
nervous looking over the parking lot, before entering 250 Kennedy Drive.

108. At approximately 3:06 p.m., a surveillance agent observed the above-referenced
unidentified male exit the right-side main door of 250 Kennedy Drive, carrying what appeared to
be a Foot Locker store bag (like the one MARTlNEZ-TlBURClO had previously carried). The
unidentified male placed the bag on the front passenger-side floor of the Gray Chevy Suburban
and closed the door. The unidentified male then walked around the parking area looking into the
windows of the surrounding vehicles The unidentified male then entered the Gray Chevy
Suburban and departed the parking area of 250 Kennedy Drive. The unidentified male drove to
the neighboring building located at 248 Kennedy Drive. Agents observed the unidentified male
speaking on the phone and entering 248 Kennedy Drive, carrying the Foot Locker-style bag At
approximately 31 18 p.m., the unidentified male exited 248 Kennedy Drive and entered the Gray
Chevy Suburban Agents were not able to see whether the unidentified male had any items with
him. The unidentified male drove back to 250 Kennedy Drive.

109. At approximately 3:22 p.m., an agent observed the unidentified male exit the
Gray Chevy Suburban carrying the above-described black laptop-style bag and entering 250
Kennedy Drive.

110. At approximately 3:27 p.m., MARTINEZ-TIBURCIO and RAMIREZ-
RODRIGUE spoke again, and MART[NEZ-TIBURCIO said he was still at the “office” with
“those people" because they had “left and had to come back.” RAMlREZ-RODRIGUE asked, “

[W]hy, what happened?” MARTINEZ-TIBURCIO explain that “they” had left “[s]o they could

47

 

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 48 of 66

give" MART[NEZ-TIBURCIO “something else." MART[NEZ-TIBURCIO said he would
explain in person, adding that he was leaving soon

l l l. At approximately 3138 p.m., a surveillance agent observed MART[NEZ-
TlBURClO`s Ford Escape depart 250 Kennedy Drive. At approximately 4:00 p.m., an agent
observed the Red Ford Escape arrive and park at the rear of Building 1 of 375 Broadway in
Lynnfield. RAl\/llREZ-RODRIGUE’$ Mitsubishi Endeavor was also parked in the rear.
MART[NEZ-TIBURCIO exited the vehicle and entered the building MART[NEZ-TIBURCIO
was carrying a plain white plastic bag

1 12. Based on the intercepted calls ledger entries and surveillance at 250 Kennedy
Drive and 375 Broadway, 1 believe RAM[REZ-RODRIGUE, MONTANEZ, and MART[NEZ-
TIBURCIO arranged for the delivery of narcotics to the SALDANA DTO and the delivery of

money to the unidentified Hispanic male on behalfof MONTANEZ.

 

b. Example of SALDANA Directing DTO Operations
113. Since his return from the Dominican Republic in March 2012, SALDANA has
been running the day-to-day operations of the DTO and has managed relationships with
customers and suppliers
114. On numerous occasions SALDANA has directed individuals such as
CUADRADO-ALM()DOVA, FRANCO, and LOPEZ-SANTOS regarding the preparation of
quantities of narcotics for specific customers and has further directed the delivery ofthe

narcotics to those customers An example from April 3, 2012 of surveillance and intercepted

 

calls is described below.

 

 

48

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 49 of 66

c. April 3, 2012: SALDANA Directed DTO Members CUADRADO-
ALMODOVL FRANCQ, and LOPEZ-SANTOS RegardiM P@aration and
Distribution of Narcotics From 40 Church Street and Collection of Narcotics
Proceeds.

115. At approximately 9110 a.m. on April 3, SALDANA received an incoming call on
Target Telephone #9 from CUADRADO-ALMODOVA. SALDANA told CUADRADO-
ALMODOVA to “take seventeen” from the “whole one” (1ikely referring to a kilogram of
narcotics) to and “add three” to the “seventeen.” SALDANA stated that this would be for
“Fiera.” Based on surveillance and intercepted communications "Fiera" is believed to be a
narcotics customer ofthe SALDANA DTO. SALDANA then told CUADRADO-ALMODOVA
to grab a “fifty” ofthe "tablets that are made,” break the tablets apart, and grab "fifty' more."
“Tablets” is common slang for compressed narcotics often kilogram quantities SALDANA
stated that this would be for “Pera Juan,” likely referring to another Target Subject and known
narcotics customer ofthe SALDANA DTO. SALDANA provided additional specific
instructions regarding preparation of narcotics and told CUADRADO-ALMGDOVA to do a
good job labeling “those tablets.” SALDANA also told CUADRADO-ALMODOVA that
“Ruby" (i.e., FRANCO) would arrive early.

116. At approximately 9:30 a.m., a surveillance agent saw LOPEZ-SANTOS and
CUADRADO-ALMODOVA arrive in a 2004 Gray Acura MDX near the rear of 40 Church
Street*a drug-stash location previously used by the SALDANA DTO following the execution
ofthe search warrant at 375 Broadway in Lynnfield. LOPEZ-SANTOS, who was driving, and
CUADRADO-ALMODOVA exited the vehicle. LOPEZ-SANTOS and CUADRADO-

ALMODOVA proceeded to the walkway ofthe rear apartments of 40 Church Street. LOPEZ-

SANTOS was carrying two shopping bags

49

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 50 of 66

117. At approximately 9:39 a.m., SALDANA used Target Te|ephone #9 to call
CUADRADO-ALMODOVA. CUADRADO-ALMODOVA asked SALDANA where the
“tablets" were because they were not where “Vija” (i.e., RAMIREZ-RODRIGUE) put them.
The parties discussed contacting RAMIREZ-RODRIGUE and also discussed when FRANCO
would arrive.

l 18. At approximately 9:59 a.m., a surveillance agent observed FRANCO arrive at the
rear parking lot of 40 Church Street in a 2003 gray Acura MDX. FRANCO exited the vehicle
and placed a call on a cell phone while walking to the rear apartments of 40 Church Street.

1 19. At approximately 10:09 a.m., SALDANA received a call on Target Te|ephone #9
from CUADRADO-ALMODOVA, who reported, “two-fifty, the one hundred, and the one
hundred.” SALDANA instructed CUADRADO-ALMODOVA to “label them.” Here, the
parties were likely referring to quantities of narcotics that had been prepared for distribution
CUADRADO-ALMODOVA said he would "do a good job labeling” so they would know to
whom each belonged CUADRADO-ALMODOVA asked to whom “the other one hundred”
belonged SALDANA said he would tell CUADRADO-ALMODOVA “here” and instructed
CUADRADO-ALMODOVA to come "here.” SALDANA said that he and “Vija” (i.e.,
RAMIREZ-RODR[GUE) were at home.

120. At approximately 10: 16 a.m., SALDANA received a call on Target Te|ephone #9
from FRANCO, who asked whom “the 100” belonged to. SALDANA did not respond with a
name, but provided FRANCO with telephone number (978) 943-8354. SALDANA instructed
FRANCO to deliver "‘Pera Juan’s” first. “100” likely refers to a quantity of narcotics (100
grams) intended for an unidentified customer referred to in later intercepted conversations as

“Nirio.”

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 51 of 66

121. At approximately 10117 a.m., a surveillance agent saw FRANCO exit the
walkway of the 40 Church Street rear apartments and leave the area in his 2003 gray Acura
MDX.

122. At approximately 11110 a.m., SALDANA received a call on Target Telephone #9
from FRANCO, who stated that he had delivered "it” (likely referring to the narcotics he
obtained from 40 Church Street) but that he did not receive any “little tickets” (common slang
for money) in return SALDANA informed FRANCO that "they” do not pay until they “check
it,” likely meaning that the narcotics customer does not pay until the drugs are tested and deemed
satisfactory. FRANCO again informed SALDANA that FRANCO delivered “it."

123. At approximately 12112 p.m., a surveillance agent saw a 2004 gray Mitsubishi
Endeavor arrive at the rear of 40 Church Street. The vehicle parked, and SALDANA exited the
front passenger side while RAMIREZ-RODR[GUE exited the driver’s side. Both entered the
walkway to the rear apartments of 40 Church Street.

124. At approximately 12:43 p.m., a surveillance agent saw LOPEZ-SANTOS,
RAMIREZ-RODRIGUE and SALDANA all exit the walkway to the rear apartments of 40
Church Street. LOPEZ-SANTOS entered 2003 gray Acura MDX, while RAM[REZ-
RODR[GUE and SALDANA entered the 2004 gray Mitsubishi Endeavor.

125. At approximately 2249 p.m., LOPEZ-SANTOS informed SALDANA that he was
on his way back. SALDANA asked LOPEZ-SANTOS what "Pesote” gave him. “Pesote” is a
known narcotics customer of the SALDANA DTO identified as-_ LOPEZ-
SANTOS stated, "three six hundred (360), two fifty (250), l think." 1 believe this refers to
payment for narcotics that the SALDANA D'l`O supplied to "Pesote." LOPEZ-SANTOS stated

that he paid the rent from “that." They agreed to talk later.

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 52 of 66

126. At approximately 3:37 p.m., a surveillance agent saw LOPEZ-SANTOS return to
the rear of 40 Church Street in his 2003 gray Acura MDX. LOPEZ-SANTOS entered the
walkway to the rear apartments

127. The above-described calls and surveillance observations are consistent with
narcotics-trafficking activity, and moreover, are consistent with the manner in which agents have
observed members ofthe SALDANA DTO distribute narcotics on prior occasions from known
stash locations such as 250 Kennedy Drive and 375 Broadway over the course of this
investigation

d. June 26, 2012: SALDANA Directed DTO Members LOPEZ-SANTOS and
UM5845 and Regarding Preparation and Distribution of Narcotics from 81
PhilliJ)s Stre@ Lawrence and the Collection of Narcotics Proceeds.

128. On June 26, 2012, at approximately 12:26 p.m., SALDANA placed an outgoing
call to (978) 390-5845 and spoke to UM5845, an unidentified member ofthe SALDANA DTO.
SALDANA asked Lll\/l5845 if he was on his way to see ‘lPinguino.” UM5845 affirmed and said
he on his way there now because “the girl” was “delayed a bit.” SALDANA asked why there
was a delay. UM5845 replied that the girl was “counting the chelitos” because they did not have
them counted UM5845 said, “1t seems they had it scattered.” SALDANA acknowledged
UM5845 asked for the name of the street where “Pinguino” was located and asked if it was near
where SALDANA lives SALDANA confirmed that is was "‘[a]round where 1 live" but said he
did not know the street name. 1 believe that UM5845 informed SALDANA that he was on his
way to pick up money (“chelitos”) from l‘Pinguino,” and that he was delayed because an
unidentified female who worked with “Pinguino” had not yet counted the money for the

SALDANA DTO.

52

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 53 of 66

129. At approximately 12:31 p.m., SALDANA placed a call from Target
Te|ephone #12 to (978) 397-8716 and spoke to "Pinguino.” SALDANA said, “He is there. And
you are not opening.” SALDANA told “Pinguino” that UM5845 was “in a taxi.” 1 believe that
SALDANA called "Pinguino" to inform him that Ul\/15845 had arrived at 12 Bourque Street in a
taxi, and that “Pinguino” should let him inside the residence

130. At approximately 12:45 p.m., agents observed an unidentified Hispanic male in
front of 12 Bourque Street in Lawrence. At approximately 12:52 p.m., the individual entered a
Liberty Taxi and departed Agents followed the taxi to 81 Phillips Street, where the unidentified
male (believed to be UM5845) exited the taxi and walked towards the rear side door of8l
Phillips Street.

131. At approximately 1330 p.m., MONTANEZ called SALDANA and said, “Listen,
at the sister-in-law’s or the woman’s?” SALDANA responded, “At the sister-in-|aws.” The
conversation ended 1 believe that MONTANEZ was calling to confirm a meeting location, and
based on information gathered in this investigation, that “the sister-in-law’s” refers to 81 Phillips
Street, and “the woman’s” refers to SALDANA’s residence at 10 Diamond Street, Apartment 19
in Lawrence.

132. At approximately 1:40 p.m., agents observed LOPEZ-SANTOS arrive at 81
Philips Street in a silver Acura MDX. He parked in the driveway and entered the building via
the rear side door. He departed about seven minutes later in the silver Acura MDX. Shortly
thereafter, LOPEZ-SANTOS called SALDANA and reported that he had collected “2,000
bucks,” which he left “at Cuiii’s with Moreno.” Based on information gathered in this
investigation thus far, l believe that "`Cui`ii" is an abbreviation ofthe Spanish word “curiada”

which means “sister-in-law.” Further, 1 believe that "‘Moreno” refers to UM5845. As noted,

 

 

 

 

 

 

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 54 of 66

SALDANA DTO members have referred to 81 Phillips Street as “the sister-in-law’s place.”
Therefore, 1 believe that LOPEZ-SANTOS informed SALDANA that he had collected $2,000
(“2,000 bucks”) from an unidentified individual, and that he left the money at 81 Phillips Street
with UM5845,

133. At approximately 2;24 p.m., LOPEZ-SANTOS returned to 81 Philips Street and
entered the residence.

134. At approximately 2:01 p.m., SALDANA placed an outgoing call from Target
Te|ephone #12 to (978) 390-5845 and spoke again to UM5845 SALDANA instructed UM5845
to “take out for me fifty pesos for_ And you are going to go with this guy and bring it.”
UM5845 asked, “With William?" SALDANA affirmed, and continued to instruct UM5845, “So
you take out ofthe one hundred that are left there . . . ofthe one hundred original ones that are
left there. Take out fifty.” l believe that SALDANA instructed UM5845, who was at 81 Phillips
Street, to prepare 50 grams of narcotics (“fifty pesos") for-l‘- and that
UM5845 was to deliver the narcotics with LOPEZ-SANTOS (“William").

135. At approximately 2131 p.m., SALDANA called- and informed him that
“the guy already left for over there.” - said, “But 1 was calling for you to send me the
decoration That’s why l was calling you, man” SALDANA affirmed and said, “Let me call
him.” - specified his request: "Fifty' pesos ofdecoration” 1 believe SALDANA
informed- that his courier had already left to deliver the 50 grams of narcotics that
-requested and that_ further requested 50 grams of cutting agent ("decoration”).

136. A minute later, SALDANA called UM5845 and asked whether "William" arrived
UM5845 affirmed, and added, "We are taking out a little money he told me has to be taken to

. . . ” SALDANA interrupted stating, "Yes uh, take it out ofthe five-something that came in

54

Case 1:12-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 55 of 66

yesterday and to complete it with the other two also.” SALDANA told UM5845 to “send fifty
pesos of cortina to- also.” UM5845 affirmed SALDANA stated, “The fifty, plus fifty
pesos ofcortina.” 1 believe that SALDANA inquired where LOPEZ-SANTOS (“William”) was;
that, consistent with surveillance observations UM5845 reported that LOPEZ-SANTOS had
arrived at 81 Phillips Street and that they were gathering money for an unstated purpose; that
SALDANA instructed UM5845 to prepare 50 grams of cutting agent (“50 pesos of cottina”)
along with the 50 grams of narcotics for--

137. At approximately 2226 p.m., agents observed MARTlNEZ-TIBURCIO arrive at
81 Phillips Street in a red Ford Escape and park in front ofthe house. MARTlNEZ-TIBURCIO
exited the vehicle and walked down the driveway towards the rear side entrance of 81 Phillips
Street. At approximately 2:36 p.m., agents observed a gray Mercury Montego park in the
driveway of 81 Phillips Street, An unidentified Hispanic male exited the vehicle and opened the
trunk. Agents did not see whether he removed any items from the trunk. They observed him
walk towards the rear door of81 Phillips Street.

138. At approximately 2:39 p.m., SALDANA called LOPEZ-SANTOS and asked him
if he was “already out on the street.” LOPEZ-SANTOS said he was “waiting for this guy.”
SALDANA then transferred to an incoming call from MONTANEZ, who said, “Open the door,
man The man’s outside. SALDANA affirmed MONTANEZ responded, “He’s with Chifuco
outside.” 1 believe that MONTANEZ called SALDANA to inform him that MONTANEZ’$
associate had arrived at 81 Phillips Street and was waiting outside with MARTlNEZ-TIBURCIO
(“Chifuco”). This is consistent with surveillance observations describe above

139. At approximately 2:40 p.m., agents observed MARTINEZ-TIBURCIO walk

down the driveway of 81 Phillips Street to his red Ford Escape carrying a brown package About

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Case 1112-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 56 of 66

three minutes later, LOPEZ-SANTOS and UM5845 exited 81 Phillips Street and departed in the
silver Acura MDX.

140. At approximately 3105 p.m., the unidentified male believed to be an associate of
MONTANEZ departed in the l\/lercury l\/lontego. Agents followed the vehicle to lnterstate 93
south, where surveillance was terminated

V. Use of 81 Phillips StreetLFirst Floor Rear Apartment, as Drug Stash Location
and Base of Operations

141. Based on my training experience, and involvement in this investigation, l believe
that the activity described in paragraphs 128 - 140 is consistent with the use of8l Phillips Street,
First Floor Rear Apartment, as a drug and money stash location This type of activity, along with
corresponding intercepted calls relating to drug deliveries drug processing, and money
collection and deliveries was observed at 81 Phillips Street during several days of physical
surveillance. During that time, members of the SALDANA DTO, along with individuals
believed to be drug suppliers and drug customers accessed only the rear first floor apartment of
81 Phillips Street,

142. For example, on .lune 20, 2012, SALDANA was intercepted making what l
believe to be arrangements with_ who is a target ofa separate but related DEA wiretap
investigation, to supply_ with heroin At 10:37 a.m., SALDANA placed a call from
Target Te|ephone #12 to (978) 397-4793 and spoke to -. During the call, SALDANA told

- to send the guy to "Phili” (i.e., Phillips Street) where he went to get the “tickets” (the
drug money), not where he ""went to bring.” At 11123 a.m., SALDANA called- back and
told_ to send “his guy there to the 81” (i.e., 81 Phillips Street) and further told_ to
4 call him once "the guy" arrived there so that they could open the door and to go in the back. A

short time later, at l 1124 p.m., SALDANA called UM5845 and told him that_ (i.e.,

56

Case 1112-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 57 of 66

- was going to call when “his guy was outside” and that “he only wants six hundred
pesos” (believed to be 600 grams of heroin).

143. On June 20, 2012, at 10:30 a.m., surveillance was established at 81 Phillips Street.
At 1 1139 a.m., a surveillance agent saw a black Mercedes bearing Massachusetts license plate
258NT5 arrive on Phillips Street and park in front of 81 Phillips Street. Shortly thereafter, an
agent observed a Hispanic male wearing a white T-shirt, believed to be-- a courier
for_ exit the vehicle and walk to the left side of81 Phillips Street towards the rear
apartment. At 11:53 a.m., an agent observed LOPEZ-SANTOS arrive in his silver Acura MDX.
LOPEZ-SANTOS retrieved two multi-colored bags which appeared to have box shaped
contents and then walked around to the left side of 81 Phillips Street towards the rear apartment
At approximately 1115 p.m., an agent observed the male with the white T-shirt believed to be
-- exit the area of 81 Phillips Street carrying what appeared to be one ofthe same
multi-colored bags that LOPEZ-SANTOS had brought. - entered the black Mercedes and
departed the area.

144. Based on the intercepted calls and surveillance, 1 believe this is one of several
instances in which LOPEZ-SANTOS or other DTO members brought narcotics to the first floor
rear apartment of 81 Phillips Street in order to conduct a narcotics transaction set up by
SALDANA.

145. The pattern ofactivity at 81 Phillips Street is consistent with what agents
observed at other known or suspected drug stash locations used by the SALDANA DTO,
including 250 Kennedy Drive and 375 Broadway, Therefore, 1 believe there is probable cause
that agents will find substantial evidence ofdrug trafficking in the rear first floor apartment of 81

Phillips Street.

Case 1112-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 58 of 66

VI. Target Locations

a. 81 Phillips Street, First Floor Rear Apartment, Lawrence, Massachusetts

jTarget Location #1[

Description of Target Location #1
146. Target Location #l is the rear apartment on the first floor of81 Phillips Street,
Lawrence, Massachusetts and is part two-story, multi-family dwelling with off-white siding and
white trim. As viewed from Phillips Street, the front ofthe building containing Target Location
#1 has two entrances one clearly marked “81" in white numbering (on a black background)
above the doorway, the other clearly marked "79" in white numbering (on a black background)
above the doorway. To the left ofthe doorway marked “81” is a mailbox labeled “81 Front”
along with three names There is a driveway along the left side ofthe building containing Target
Location #l that leads to a side entrance, covered by an awning, in the rear portion of81 Phillips
Street.l6 This rear side entrance is accessed by a short wooden staircase and is used to access
Target Location #1. The rear apartment only constitutes Target Location #1. Three recent
photographs depicting the front of 81 Phillips Street and the side entrance used to access Target
Location #l are attached to the warrant application and warrant
Link to Criminal Activity
147. Examples ofthe types ofcriminal activity occurring at this Target Location are
set forth above at paragraphs 128-145 ofthis Affidavit. The criminal activities described are
representative of what agents have observed through physical surveillance on multiple other
occasions ln addition, intercepted calls indicate that such activities are occurring on an ongoing,
almost daily basis at that location Precis|e location information obtained for cellular telephones

used by certain SALDANA DTO members indicate that Target Location #l continues to be

 

ll’ Utility records confirm that 81 Phillips Street contains a rear apartment

58

Case 1112-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 59 of 66

accessed on a regular basis by LOPEZ-SANTOS, UM5845, and L1M8165. Agents observed
LOPEZ-SANTOS and UM5845 at Target Location #l on luly 6, 2011.

b. 10 Diamond Street, Apartment #19LLawrence, Massachusetts (Target

Ml

Description of Target Location #2

148. Target Location #2 is Apartment 19 at 10 Diamond Street, Lawrence,
Massachusetts, which is part ofa multi-unit apartment building that, in tum, is part ofa multi-
building complex called "Hampton on Beacon Street.” The apartment complex consists of
approximately nine buildings on Beacon Street and Diamond Street, 10 Diamond Street, which
contains Target Location #2, is a three-story building containing multiple apartments Portions
ofthe exterior of 10 Diamond Street are brick, and portions are white clapboard in appearance
The building can be accessed through any of four entrances-a rear entrance on Diamond Street,
a main entrance on the opposite side ofthe building from Diamond Street, and two side
entrances The main entrance is located on the opposite side ofthe building from Diamond
Street, on the interior ofthe apartment complex. A brown sign with the number “10" in white
hangs from the exterior of the building, several yards to the right ofthe main entrance and
several yards above ground level. Target Location #2 is located on the middle floor ofthe three
floors Upon entering from the building’s main entrance, Target Location #2 is located partway
down a hallway to the left ofa short central staircase The door to Target Location #2 is clearly
labeled with the number "19." A recent photograph ofthe exterior of building containing Target
Location #2, and a recent photograph of the interior stairway described above, are attached to the

warrant application and warrant,

Case 1112-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 60 of 66

Link to Criminal Activity

149. Target Location #2 is the primary residence of SALDANA, the leader of the
DTO. During multiple intercepted telephone calls, SALDANA provided directions DTO
members narcotics suppliers and other criminal associates directions to building number 10 of
the apartment complex, which he has alternatively referred to as the “bricks" and the
‘lHamptons" and his “girlfriend’s” On two occasions while speaking with narcotics supplier
LEBRON-RIVERA regarding meetings he specifically referred to Apartment 19, instructing
LEBRON-RIVERA to “ring 19” when LEBRON-RIVERA arrived Agents have obtained cell
tower data for calls over Target Telephone #12, used by SAL DANA. The vast majority ofcalls
made late in the evening (after 9100 p.m.) and in the morning (before 10:00 a.m.) were routed
through a cell tower located at 20 Glenn Street in Lawrence, Massachusetts which is .4 miles
from Target Location #2, and is the closest cell tower to Target Location #2. 1n addition, in a
call with unidentified DTO member UM5845, SALDANA described the residence of criminal
associate known as “Pinguino” as “[a]round where 1 live.” The investigation has established that
“Pinguino’l resides at 12 Bourque Street in bawrence, which is approximately .4 miles away.

150. On multiple occasions and as recently as July 5, 201 l, agents observed
SALDANA exiting 10 Diamond Street. Agents have also observed LEBRON-RIVERA enter 10
Diamond Street on lune 18 and June 19, 2012, to meet with SALDANA, based on intercepted
calls In addition, agents have observed LOPEZ-SANTOS, and other individuals believed to be
a criminal associates ofSALDANA based on intercepted calls travel to 10 Diamond Street to
meet SALDANA.

151. Utilities for Target Location #2 are in the name of Elizabeth Rodriguez, believed

to be the girlfriend of SALDANA. The telephone number that Rodriguez provided to the utility

60

Case 1112-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 61 of 66

company was in contact with a telephone believed to be have been used by SALDANA 442
times between March 25 and April 17, 201 l. The names “Rodriguezl’ and "Herrera” appear on
the mailbox for apartment 19 at 10 Diamond Street.
c. 87 Kielv Road, Dedham, Massachusetts (Target Location #3)
Description of 'farget Location #3

152. Target Location #3, 87 Kiely Road, Dedham, Massachusetts, is a single two-story
unit ofa residential duplex building that includes 87 Kiely Road and 89 Kiely Road. The
building’s exterior facing Kiely road is beige. The building has two front entrances facing Kiely
Road, one for 89 Kiely Road on the left, and one for Target Location #3 on the right. The front
door to Target Location #3 is marked with black numeral “87” below the front door, which is
located one step above a platform at the top of several steps leading to the front yard 'l`here is an
outer white storm door, and a red exterior door leading to Target Location #3. A recent
photograph of Target Location #3 and a photograph of Target Location #3 obtained from public
records are attached to the warrant application and warrant.

Link to Crimina| Activit_v_

153. 87 Kiely Road is the primary residence of MONTANEZ, a narcotics supplier to
the SALDANA DTO. 1n December 2011, when agents were intercepting wire communications
over a telephone used by MONTANEZ (Target Te|ephone #7), precise location information
obtained for that telephone, coupled with intercepted communications over that telephone,
established that he was present at the Target Location ovemight. ln addition, on at least two
occasions in December 201 l, surveillance agents observed MONTANEZ emerge from the front
door to the Target Location in the morning As noted above, on one of those occasions

December 7, 2011, 1 believe MONTANEZ was on his way to deliver heroin to the SALDANA

61

Case 1112-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 62 of 66

DTO at 250 Kennedy Drive. Agents observed MONTANEZ emerging from Target Location #3
as recently as approximately 12:00 p.m. on June 19, 2012, More recently, precise location
information obtained for a different telephone that MONTANEZ is currently using (and over
which he has been intercepted conducting narcotics-trafficking activity with SALDANA) has
established that he continues to stay overnight at 87 Kiely Road. Location information has been
obtained for the period .luly 5, 2012 to the present. l therefore believe that MONTANEZ
continues to reside at the Target Location MONTAN EZ recently discussed with SALDANA
what 1 believe to be money owed by the SALDANA DTO to MONTANEZ for narcotics
VII. Drug Traff`ickers’ Use of Residences and Stash Locations Genera||v

154. lt has been my experience that drug traffickers use "stash locations" for their
drugs in order to avoid keeping large quantities ofthe drugs in their residences Stash locations
also provide some measure of security for drug traffickers who are concerned about being
robbed Stash locations provide privacy so that traffickers can break down and package the
drugs often with assistance from associates at a location away from their homes and families
A stash location also provides some anonymity for the delivery ofbulk drugs; in this way, a drug
trafficker can receive a shipment of drugs without letting the courier (or other members of the
supply organization) know where he or she lives

155. Based upon my training and experience, as well as the training and experience of
other law enforcement agents 1 have worked with, l am also aware that it is generally a common
practice for traffickers to conceal at their stash locations large sums of money, either the
proceeds from drug sales or monies to be used to purchase controlled substances

156. Based upon my training and experience, as well as the training and experience of

other law enforcement agents 1 have worked with, l am aware that it is generally a common

62

Case 1112-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 63 of 66

practice for drug traffickers to store drug-related paraphernalia in their residences for longer
periods oftime than they keep drugs in their residences Further, it is generally a common
practice for drug traffickers to maintain in their residences and in stash locations records relating
to their drug trafficking activities Because drug traffickers in many instances will "‘front” (that
is sell on consignment) controlled substances to their clients or altematively, will be “fronted”
controlled substances from their suppliers such record-keeping is necessary to keep track of
amounts paid and owed, and such records will also be maintained close at hand so as to readily
ascertain current balances Often drug traffickers keep “pay and owe” records to show balances
due for drugs sold in the past (“pay”) and for payments expected (“owe”) as to the trafficker’s
suppliers and the trafficker’s dealers Additionally, drug traffickers must maintain telephone and
address listings ofclients and suppliers and keep them immediately available in order to
efficiently conduct their drug trafficking business 1 am also aware that drug traffickers often
maintain such documents related to their drug trafficking activities at their residences for an
extended period of time, regardless of whether they are physically in possession of drugs on the
premises

157. Based upon my training and experience, as well as the training and experience of
other law enforcement agents 1 have worked with, 1 am also aware that it is generally a common
practice for traffickers to conceal at their residences large sums of money, either the proceeds
from drug sales or monies to be used to purchase controlled substances ln this connection, drug
traffickers typically make use of wire transfers cashier’s checks and money orders to pay for
controlled substances Evidence of such financial transactions and records relating to income
and expenditures of money and wealth in connection with drug trafficking would also typically

be maintained in residences

63

Case 1112-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 64 of 66

158. ln addition, during the course of such residential searches agents have also found
items of personal property that tend to identify the person(s) in residence, occupancy, control, or
ownership ofthe subject premises Such identification evidence is typical ofthe articles people
commonly maintain in their residences such as canceled mail, deeds leases rental agreements
photographs personal telephone books diaries utility and telephone bills statements
identification documents and keys See, e.g., United States v. Feliz, 182 F.3d 82, 87-88 (lst Cir.
l999).‘7

159. Based upon my training and experience, as well as the training and experience of
other law enforcement agents 1 have worked with, 1 am also aware that drug traffickers generally
try to hide cash and sensitive documents related to their drug trafficking activities in safes or
other containers so that other individuals who are at their residence do not discover these
materials Typically, drug traffickers also possess firearms and other dangerous weapons to
protect their profits supply of drugs and persons from others who might attempt to forcibly take
the traffickers’ profits and/or supply of drugs

160. 1 have participated in the execution of numerous search warrants at the residences
and stash locations of drug traffickers who are similar to targets of this investigation ln a
substantial number of searches executed in connection with the drug investigations in which they
have been involved, in addition to actual controlled substances the following kinds of drug-

related evidence have typically been recovered:

 

ll ln fe_li_z, the First Circuit made it clear that, in the drug trafficking context, evidence of
drug transactions can be expected to be found in a drug trafficker’s residence for months after
evidence of the last drug transaction 182 F.3d 82, 87 (1st Cir. 1999) ("[C]ourts have upheld
determinations of probable cause in trafficking cases involving [three months long] or even
longer periods.") (citing United States v. Greanv, 929 F.2d 523, 525 (9th Cir.l99l) (two year-old
information relating to marijuana operation not stale)). As the First Circuit has explained, "‘By
its very nature, drug trafficking if unchecked, is apt to persist over relatively long periods of
time.” United States v. Nocella, 849 F.2d 33, 40 (1st Cir. 1988).

64

 

Case 1112-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 65 of 66

a. illicit narcotics including trace amounts;

b. documentary or other evidence manifesting dominion and control over the
subject premises (such as utility and telephone bills statements identification
documents and keys);

c. paraphernalia for packaging processing, diluting, weighing and distributing
controlled substances such as scales funnels, sifters, grinders, glass panes

and mirrors, razor blades plastic bags heat-sealing devices and presses;

d. books records receipts notes ledgers and other papers relating to the
distribution of controlled substances

e. personal books and papers reflecting names addresses telephone numbers
and other contact or identification data relating to the distribution of
controlled substances

f. electronic equipment such as computers currency counting machines and
telephone answering machines to generate, transfer, count, record and or store
the information described above;

g. cash, currency, and records relating to controlled substances income and
expenditures of money and wealth, such as money orders wire transfers
cashier’s checks and receipts bank statements passbooks, checkbooks and
check registers as well as precious metals such as gold and silver, and
precious gems such as diamonds;

h. documents indicating travel in interstate and foreign commerce such as travel
itineraries, plane tickets boarding passes motel and hotel receipts passports
and visas credit card receipts and telephone bills;

i. cellular telephones PDAs, tablet computers and other wireless devices

161. Based upon the foregoing, and based upon my training and experience, 1 submit
that there is probable cause to believe that the each of the above-described target locations
presently contains the items that constitute evidence ofthe commission of criminal offenses
contraband, the fruits of crime, things otherwise criminally possessed, and property designed or

intended for use or which is or has been used as the means of committing a criminal offense,

specifically, a violation of2l U.S.C. § 846. The specific items that there is probable cause to

Case 1112-cr-10219-N|\/|G Document 2-10 Filed 07/06/12 Page 66 of 66

believe will be found at each target location are set forth in Attachment B to the respective

search warrant application and warrant for each target location

CONCLUSION

162. Based on the information set forth above, 1 believe probable cause exists to
conclude that SALDANA, RAl\/lchEZ-RODRIGUE, FRANCO, CUADR_ADO-ALMODOVA,
l\"lARTlNEZ-TIBURCIO, LOPEZ-SANTOS, MONTANEZ, and LEBRON-RIVERA have
conspired and continue to conspire to possess with intent to distribute, and to distribute, cocaine
and heroin, in violation of 21 U.S.C. § 846, and that evidence of said criminal offense, as set
forth in Attachment B each of the respective search warrant applications for the target locations
will be found inside each target location

163. l, lames Picardi, having signed this Affidavit under oath as to all assertions and
allegations contained herein, state that its contents are true and correct to the best of my

knowledge, information, and belief.

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es cardi
Task Force Officer, DEA

SUBSCRIBED and SWORN to before me

this le day of July, 2012.
MQL//©M

Hon able Judith/ G Dein
Un d States Magistrate Judge
District of Massachusetts

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